       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 1 of 62



 1   Randolph Gaw (S.B. #223718)
     rgaw@gawpoe.com
 2   Mark Poe (S.B. #223714)
     mpoe@gawpoe.com
 3   Victor Meng (S.B. #254102)
     vmeng@gawpoe.com
 4   Samuel Song (S.B. #245007)
     ssong@gawpoe.com
 5   GAW | POE LLP
     4 Embarcadero, Suite 1400
 6   San Francisco, CA 94111
     Telephone: (415) 766-7451
 7   Facsimile: (415) 737-0642
 8   Attorneys for Plaintiffs AdTrader, Inc., Classic and
     Food EOOD, LML CONSULT Ltd., Ad Crunch
 9   Ltd., Fresh Break Ltd., and Specialized Collections
     Bureau, Inc.
10
11
                                UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN JOSE DIVISION
14
15    ADTRADER, INC., CLASSIC AND                      Case No. 5:17-CV-7082-BLF
      FOOD EOOD, LML CONSULT LTD.,
16    AD CRUNCH LTD., FRESH BREAK                      SECOND AMENDED CLASS ACTION
      LTD., AND SPECIALIZED                            COMPLAINT
17    COLLECTIONS BUREAU, INC.
                                                       DEMAND FOR JURY TRIAL
18                          Plaintiffs,
19           v.
20    GOOGLE LLC.
21                          Defendant.
22
23
24
25
26
27
28
                                                                      SECOND AMENDED COMPLAINT
                                                                          CASE NO. 5:17-CV-7082-BLF
        Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 2 of 62



 1                                                         TABLE OF CONTENTS
 2
     INTRODUCTION ........................................................................................................................... 1
 3
     PARTIES ......................................................................................................................................... 2
 4
     JURISDICTIONAL STATEMENT................................................................................................. 3
 5
     INTRADISTRICT ASSIGNMENT ................................................................................................. 3
 6
     FACTUAL ALLEGATIONS .......................................................................................................... 3
 7
         Google’s Advertising Business.................................................................................................... 3
 8
         Google’s DoubleClick Ad Exchange (AdX) ............................................................................... 4
 9
         Google’s DoubleClick Bid Manager (DBM) .............................................................................. 5
10
         Google’s Contracts with AdX Publishers .................................................................................... 6
11
         Google’s Contracts with Advertisers ........................................................................................... 7
12
         Google’s Repeated Promises to Issue Refunds or Credits to Advertisers for Invalid Activity ... 8
13
         Background on Plaintiffs and Their Use of AdX ........................................................................ 9
14
         Google Initiates Direct Contact with DingIt, a Key Client of AdTrader................................... 11
15
         Google Suddenly Terminates AdTrader’s AdX Account and Withholds Its Earnings. ............ 13
16
         Google Refuses to Tell AdTrader Why It Terminated AdTrader’s AdX Account and Withheld
17       Its Earnings, and Summarily Denies AdTrader’s Appeal. ........................................................ 14

18       Google Misrepresents That All of the Activity on AdTrader’s AdX Account Was Invalid, and
         That All of Its Earnings Were Being Refunded to Advertisers. ................................................ 16
19
         Google Publicly Acknowledges That Its Promises to Refund Advertisers for Invalid Traffic
20       Were Not True with Respect to DBM. ...................................................................................... 20

21   CLASS ACTION ALLEGATIONS .............................................................................................. 21

22   ADTRADER’S INDIVIDUAL CLAIMS FOR RELIEF .............................................................. 23

23       FIRST CAUSE OF ACTION: Breach of Contract (AdX Publisher Agreement) by AdTrader
         Against Google (Individual Claim) ........................................................................................... 23
24
         SECOND CAUSE OF ACTION: Breach of the Implied Covenant of Good Faith and Fair
25       Dealing (AdX Publisher Agreement) by AdTrader against Google (Individual Claim) .......... 29

26       THIRD CAUSE OF ACTION: Intentional Interference with Contract by AdTrader against
         Google (Individual Claim) ......................................................................................................... 29
27
         FOURTH CAUSE OF ACTION: Declaratory Relief by AdTrader against Google (Individual
28       Claim) ........................................................................................................................................ 33
                                                                                                              SECOND AMENDED COMPLAINT
                                                                             -i-                                  CASE NO. 5:17-CV-7082-BLF
        Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 3 of 62


     PLAINTIFFS’ CLASS ACTION CLAIMS .................................................................................. 35
 1
         FIFTH CAUSE OF ACTION: Breach of Contract (DoubleClick Ad Exchange Agreement,
 2       DBM Agreement, and AdWords Agreement) by Plaintiffs against Google (Class Action
         Claim) ........................................................................................................................................ 35
 3
         SIXTH CAUSE OF ACTION: Breach of the Implied Covenant of Good Faith and Fair Dealing
 4       (DoubleClick Ad Exchange Agreement, DBM Agreement, and AdWords Agreement) by
         Plaintiffs against Google (Class Action Claim) ......................................................................... 46
 5
         SEVENTH CAUSE OF ACTION: Breach of Implied Duty to Perform with Reasonable Care
 6       (DoubleClick Ad Exchange Agreement and AdWords Agreement) by Plaintiffs against Google
         (Class Action Claim) ................................................................................................................. 48
 7
         EIGHTH CAUSE OF ACTION: False Advertising Law by Plaintiffs against Google (Class
 8       Action Claim) ............................................................................................................................ 50
 9       NINTH CAUSE OF ACTION: Unfair Competition Law by Plaintiffs against Google (Class
         Action Claim) ............................................................................................................................ 55
10
     PRAYER ........................................................................................................................................ 58
11
     JURY DEMAND ........................................................................................................................... 59
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                                                              SECOND AMENDED COMPLAINT
                                                                            - ii -                                CASE NO. 5:17-CV-7082-BLF
       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 4 of 62



 1          Plaintiffs AdTrader, Inc. (“AdTrader”), Classic and Food EOOD (“Classic”), LML
 2   CONSULT Ltd. (“LML”), Ad Crunch Ltd. (“Ad Crunch”), Fresh Break Ltd. (“Fresh Break”),
 3   and Specialized Collections Bureau, Inc. (“SCB”) (collectively, “Plaintiffs”) hereby make the
 4   following allegations against defendant Google LLC (“Google”):
 5                                           INTRODUCTION
 6          1.      This action involves an advertising service controlled by Google called the
 7   DoubleClick Ad Exchange (“AdX”). There are two sides to this exchange: (1) the buyer-side
 8   where advertisers agree to pay Google to deliver ads on websites across the Internet, and (2) the
 9   seller-side where web publishers agree to display ads on their websites in exchange for a portion
10   of the revenues Google receives from advertisers. Google sits in the middle, and is entrusted to
11   pay publishers their share of the billions of dollars per year it receives from advertisers for the
12   service those publishers provide in displaying ads on their websites.
13          2.      As Plaintiffs have discovered, however, Google takes advantage of its central
14   position in this exchange. Plaintiff AdTrader, for example, used AdX to display ads for years
15   without incident until Google suddenly terminated its AdX account and withheld nearly $500,000
16   in accrued revenues from it. Google claimed that all of the activity associated with AdTrader’s
17   AdX account violated Google’s policies (without specifying those violations), and that all of the
18   revenues withheld from AdTrader would be returned to advertisers.
19          3.      As it turns out, neither claim was true. In fact, in binding judicial admissions,
20   “Google admits that it did not affirmatively determine prior to AdTrader’s termination that every
21   single ad impression AdTrader served [in the relevant period] was invalid.” Google also “admits
22   that it did not credit back to advertisers the entirety of amounts withheld from AdTrader.”
23   Instead, the money that Google withheld from AdTrader and did not return to advertisers went
24   into Google’s pocket, despite its repeated promises over the years (and its contractual obligation)
25   to provide refunds to advertisers in that situation.
26          4.      This action also involves a Google-controlled demand-side platform (“DSP”)
27   called DoubleClick Bid Manager (“DBM”). Advertisers used DBM (and thus, paid Google) to
28
                                                                             SECOND AMENDED COMPLAINT
                                                      -1-                        CASE NO. 5:17-CV-7082-BLF
       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 5 of 62



 1   buy ad space on AdX, as well as other advertising exchanges and services around the world
 2   (including another Google-controlled website monetization platform called AdSense).
 3          5.      Advertisers using DBM similarly had the expectation, and more importantly, the
 4   contractual right, to automatically receive refunds if any of their paid-for ad impressions or clicks
 5   turned out to be invalid. But until recently, Google apparently did not provide any refunds at all
 6   for invalid traffic, even when the ad buys were made on platforms entirely controlled by Google –
 7   AdX or AdSense. Late last year, it publicly admitted that “Google has a longstanding policy of
 8   refunding advertisers for invalid traffic,” but that this policy was only “currently being expanded
 9   to include ads purchased via DoubleClick Bid Manager.”
10          6.      Thus, this action seeks redress for Google’s wrongful conduct on both sides of the
11   exchange, as well as its wrongful conduct as a DSP. First, this is an individual action brought by
12   AdTrader to recover the ad revenue that Google improperly withheld from it and damages for
13   related tortious conduct. Second, this is a class action brought by Plaintiffs on behalf of
14   advertisers to recover the money they paid to Google for impressions and clicks generated on
15   their advertisements, which Google subsequently determined were invalid, but for which Google
16   subsequently did not provide any refunds.
17                                                PARTIES
18          7.      Plaintiff AdTrader, Inc. is a Nevada corporation that has its principal place of
19   business in New Jersey. AdTrader, Inc. was formerly known as AdTradr Corporation, and had
20   contracted with Google under that name.
21          8.      Plaintiff Classic and Food EOOD is a Bulgarian company that has its principal
22   place of business in Bulgaria.
23          9.      Plaintiff LML CONSULT Ltd. is a Bulgarian company that has its principal place
24   of business in Bulgaria.
25          10.     Plaintiff Ad Crunch Ltd. is a Bulgarian company that has its principal place of
26   business in Bulgaria.
27          11.     Plaintiff Fresh Break Ltd. is a Bulgarian company that has its principal place of
28   business in Bulgaria.
                                                                            SECOND AMENDED COMPLAINT
                                                     -2-                        CASE NO. 5:17-CV-7082-BLF
       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 6 of 62



 1          12.       Plaintiff Specialized Collections Bureau, Inc. is a California corporation that has
 2   its principal place of business in Los Angeles, California.
 3          13.       Defendant Google LLC is a Delaware limited liability company that has its
 4   principal place of business in California. Google LLC was formerly known as Google, Inc. at the
 5   time the parties first contracted with each other, but was subsequently converted to its current
 6   business form.
 7                                   JURISDICTIONAL STATEMENT
 8          14.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2). If
 9   a class is certified in this action, the amount in controversy will exceed $5,000,000.00, exclusive
10   of interest and costs, and this is a class action in which at least one member of the class is a
11   citizen of a state different from any defendant.
12          15.       The Court has personal jurisdiction over Google because it transacts business in
13   California and because in the parties’ contracts, it expressly consents to personal jurisdiction in
14   this Court.
15          16.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Google
16   resides and regularly conducts business in this district, and because the contracts with Google at
17   issue in this lawsuit have forum selection clauses requiring that litigation of all disputes is
18   handled in the state or federal courts of Santa Clara County, California.
19                                   INTRADISTRICT ASSIGNMENT
20          17.       Google’s headquarters is located in Mountain View, California, and therefore
21   assignment to the San Jose division of this Court is appropriate.
22                                       FACTUAL ALLEGATIONS
23                                      Google’s Advertising Business
24          18.       Google is the largest online advertising business in the world. It generates
25   advertising revenues by delivering ads on (1) its own “properties” such as Google.com, Gmail,
26   and YouTube and (2) what it calls “Google Network Members’ properties.” This action concerns
27   the second category.
28
                                                                             SECOND AMENDED COMPLAINT
                                                        -3-                      CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 7 of 62



 1            19.    Google Network Members are third-party website publishers who have agreed to
 2   display ads that Google delivers on their websites. In exchange for displaying those ads, Google
 3   agrees to pay those publishers a portion of the revenues it receives from advertisers.
 4            20.    Advertisers pay Google on a “cost-per-click” basis, meaning that an advertiser
 5   pays Google only when an Internet user clicks on an ad. Google also offers advertising on a
 6   “cost-per-impression” basis, meaning that an advertiser pays Google based on the number of
 7   times its ads are displayed.
 8            21.    Google tracks and recognizes revenue for each click or impression on an ad
 9   displayed on Google Network Members’ websites and is entrusted to pay those publishers their
10   share of the advertising revenues for the service they provide in displaying the ads.
11            22.    In 2017 alone, Google received over $17 billion from advertisers for clicks and
12   impressions on ads displayed on Google Network Members’ properties.
13                              Google’s DoubleClick Ad Exchange (AdX)
14            23.    Google offers several services through which: (a) advertisers can pay Google to
15   have their ads displayed on third-party websites, and (b) publishers can agree to display ads in
16   exchange for a share of the revenues advertisers pay Google for each click or impression on their
17   ads. Google’s DoubleClick Ad Exchange1 is one of those services and is the main one at issue in
18   this case, but it overlaps with Google’s other advertising services, as discussed below.
19            24.    Google has described AdX as “a real-time marketplace to buy and sell display
20   advertising space.” As an ad exchange, AdX consolidates the supply of, and demand for, ad
21   space from multiple sources.
22            25.    On the seller-side, publishers can sell ad space on their websites directly through
23   the AdX interface. In addition, smaller and individual publishers can sell ad space on AdX
24   through intermediaries called “Network Partner Managers” (“NPMs”), who sell ad space on
25   behalf of those publishers using AdX accounts belonging to the NPMs.
26
27
28   1
         AdX was renamed to Google Ad Manager on or around June 27, 2018.
                                                                            SECOND AMENDED COMPLAINT
                                                      -4-                       CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 8 of 62



 1            26.    On the buyer-side, advertisers can buy ad space directly on AdX. In addition,
 2   smaller and individual advertisers can buy ad space on AdX through intermediaries called
 3   “advertising agencies” or “advertising networks.”
 4            27.    Advertisers using Google’s AdWords program can also buy ad space on AdX
 5   through their AdWords interface (in addition to buying space on AdSense – another Google-
 6   controlled website monetization platform). In fact, AdWords advertisers can end up buying ad
 7   space on AdX without their knowledge. Under the default settings for an advertiser’s AdWords
 8   campaign, Google’s algorithms may automatically display an AdWords advertiser’s ads on AdX
 9   publishers’ websites.
10            28.    In fact, one research firm estimated in 2015 that Google had 4 million unique
11   advertisers at that point. Given that the vast majority of AdWords advertisers are small
12   businesses, the fact that they are automatically opted into AdX means that millions of the
13   participants in AdX are small businesses.
14                              Google’s DoubleClick Bid Manager (DBM)
15            29.    Advertisers can also buy ad space on AdX through a demand-side platform.
16            30.    A DSP is a computer-based platform that provides media buyers (such as
17   advertisers, agencies, trading desks, etc.) with centralized access to multiple ad exchanges (not
18   just AdX) and multiple advertising platforms where they can bid for their desired inventory.
19            31.    The largest DSP in the world is a Google product formerly called DoubleClick Bid
20   Manager (“DBM”).2 Using DBM, Google matches advertisers with publishers from various ad
21   exchanges. At the end of every billing period, Google sends those advertisers an invoice
22   reflecting the impressions or clicks that their advertisements received. The advertisers remit
23   payment to Google, and Google keeps a portion of that payment as its platform fee. Google sends
24   the rest of that payment to the ad exchange(s) in which the publishers were participating in, with
25   the ad exchanges remitting payment to those publishers after keeping some share of the revenue
26   for themselves.
27
28   2
         DBM was renamed to Display & Video 360 on or around June 27, 2018.
                                                                           SECOND AMENDED COMPLAINT
                                                     -5-                       CASE NO. 5:17-CV-7082-BLF
       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 9 of 62



 1          32.     Ad buys using DBM can end up getting matched to an AdX or AdSense publisher.
 2   In fact, most ad buys made through DBM end up going to AdX. Indeed, it is well known
 3   throughout the advertising industry that Google uses DBM to funnel advertisers to AdX instead
 4   of other advertising exchanges, and it is a topic that is openly discussed between executives of
 5   major advertisers, advertising agencies, advertising networks, and other advertising exchanges.
 6   As one example, in a November 9, 2017 interview with a media publication, the CEO of
 7   AppNexus (one of the largest DSP rivals to DBM) commented that most DBM users that spoke to
 8   AppNexus confirmed that more than half of their advertising spend goes to AdX when they used
 9   DBM.
10          33.     When an ad buy made through DBM is matched with an AdX publisher or an
11   AdSense publisher, then Google has ultimate control of both sides of that transaction. Google
12   takes payment from the advertiser and, through AdX or AdSense, remits payment directly to the
13   publisher.
14                              Google’s Contracts with AdX Publishers
15          34.     Website publishers and NPMs who sell ad space directly on AdX are required to
16   sign the Google Services Agreement (“AdX Publisher Agreement”). A true and correct copy of
17   the Google Services Agreement entered into by AdTrader on June 19, 2014 is attached hereto as
18   Exhibit 1.
19          35.     Section 8.2 of the AdX Publisher Agreement sets forth: (a) Google’s obligation to
20   pay an AdX publisher or NPM a portion of the revenues that Google receives from advertisers for
21   clicks or impressions on that publisher’s or NPM’s websites, and (b) the conditions under which
22   Google may withhold payment:
23          8.2 Google Payments.
24          (a) For the Services, Google will pay Company an amount equal to the Revenue
            Share Percentage (listed on the front page of this Agreement) of Ad Revenues
25          attributable to a calendar month. This payment will be made in the month
            following the calendar month in which the applicable Ads were displayed….
26
27
28
                                                                          SECOND AMENDED COMPLAINT
                                                     -6-                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 10 of 62


            (b) Google’s payments for the Services under this Agreement will be based on
 1          Google’s accounting which may be filtered to exclude (i) invalid queries,
            impressions, conversions, or clicks, and (ii) any amounts refunded to advertisers
 2          in connection with Company’s failure to comply with this Agreement, as
            reasonably determined by Google.
 3
 4          36.     Section 13.2 of the AdX Publisher Agreement sets forth the terms under which the
 5   agreement itself may be terminated (subsections (a), (b), and (d)), or an AdX publisher’s use of
 6   the AdX service may be suspended or terminated (subsection (c)):
 7          13.2.     Termination.
 8          (a) Either party may terminate this Agreement with notice if the other party is in
            material breach of this Agreement:
 9
                    (i)   where the breach is incapable of remedy;
10
                    (ii) where the breach is capable of remedy and the party in breach fails
11                  to remedy that breach within 30 days after receiving notice from the other
                    party; or
12
                    (iii) more than twice even if the previous breaches were remedied.
13
            (b) Either party may terminate this Agreement for any or no reason upon 30 days
14          prior notice to the other party.
15          (c) Google reserves the right to suspend or terminate Company’s use of any
            Services that are alleged or reasonably believed by Google to infringe or violate a
16          third party right. If any suspension of a Service under this subsection 13.2(c)
            continues for more than 6 months, Company may immediately terminate this
17          Agreement upon notice to Google.
18          (d) Google may terminate this Agreement immediately with notice if
            pornographic content that is illegal under U.S. law is displayed on any Site.
19
20          37.     The AdX Publisher Agreement contains no language permitting Google to
21   withhold payment from a publisher solely because Google terminated that publisher’s use of
22   AdX. Rather, Google could withhold payment only if the conditions set forth in Section 8.2(b)
23   were met.
24                                Google’s Contracts with Advertisers
25          38.     DoubleClick Ad Exchange Agreement: Advertisers who buy ad space on AdX are
26   required to sign the DoubleClick Ad Exchange Master Service Agreement (the “DoubleClick Ad
27   Exchange Agreement”). A true and correct copy of the DoubleClick Ad Exchange Agreement
28   entered into by AdTrader on or around April 1, 2016, together with its incorporated terms and
                                                                          SECOND AMENDED COMPLAINT
                                                    -7-                       CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 11 of 62



 1   conditions, is attached hereto as Exhibit 2. After signing this contract, advertisers are given
 2   access to the default Google product used to make ad buys on AdX, called AdX Buyer.
 3           39.     DBM Agreement: Advertisers who use DBM are required to sign the DoubleClick
 4   Advertising Platform Agreement (the “DBM Agreement”). A true and correct copy of the DBM
 5   Agreement entered into by AdTrader on March 1, 2016 is attached hereto as Exhibit 3. An
 6   advertiser using DBM is not allowed to buy ad space on AdX until that advertiser has first
 7   executed the DoubleClick Ad Exchange Agreement. And in the case of AdTrader, even when it
 8   made ad buys using DBM on an AdX publisher’s website, Google would sometimes send
 9   AdTrader a separate invoice generated through AdX Buyer reflecting the AdX-specific ad buys
10   that AdTrader had made. Among other things, this demonstrated that all of Google’s systems
11   were deeply interconnected with each other, with AdX Buyer having full access to data residing
12   on DBM, and presumably vice versa.
13           40.     AdWords Agreement: Finally, advertisers who buy ad space through AdWords
14   are required to sign the Google Inc. Advertising Program Terms (“AdWords Agreement”). A
15   true and correct copy of the AdWords Agreement entered into by AdTrader on February 21, 2013
16   is attached hereto as Exhibit 4.
17   Google’s Repeated Promises to Issue Refunds or Credits to Advertisers for Invalid Activity
18           41.     On its various webpages, Google repeatedly promises advertisers that it monitors
19   activity on their ads, and will issue credits or refunds to advertisers for invalid activity on their
20   ads.
21           42.     For instance, in an article posted in its “Ad Traffic Quality Resource Center” titled
22   “Google’s Protection against Invalid Clicks,” Google states: “When invalid activity is found
23   through offline analysis and reactive investigation, we mark those clicks as invalid and issue
24   credits to any advertisers affected by this activity.” A true and correct copy of this article is
25   attached as Exhibit 7.
26           43.     As another example, in an AdWords Help article titled “Understanding credits and
27   adjustments to your account” (a true and correct copy of which is attached as Exhibit 8), Google
28   represents to advertisers that it “prohibits” “invalid clicks and impressions,” and “that’s why you
                                                                              SECOND AMENDED COMPLAINT
                                                       -8-                        CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 12 of 62



 1   don’t have to pay for these unfair clicks and impressions.” A true and correct copy of this article
 2   is attached as Exhibit 8.
 3          44.     In another article posted on “Google Ads Traffic Quality” page titled “How does
 4   Google prevent invalid activity?” Google states:
 5
            When we find something wrong, we try to make it right as soon as possible. We
 6          suspend or disable invalid accounts, and may withhold payments to the publisher.
            When appropriate and possible, that money is credited back to the advertisers –
 7          not only for the month where we found the invalid activity, but often for the
            previous month, as well.
 8
     A true and correct copy of this article is attached as Exhibit 6.
 9
            45.     Importantly, Google’s repeated promises to issue credits or refunds for invalid
10
     activity are not limited to any particular ad platform or exchange. They appear on webpages
11
     addressing topics applicable to all of Google’s advertising services. Indeed, Google has publicly
12
     stated that the Ad Traffic Quality Resource Center—where it promises credits—“serve[s] as the
13
     single source for all click fraud and ad traffic quality related information.”
14
                              Background on Plaintiffs and Their Use of AdX
15
            46.     AdTrader: AdTrader was unique because its business dealt with both the buy-side
16
     and the sell-side of the online advertising industry. On the buy-side, AdTrader is an advertising
17
     network. On the sell-side, AdTrader was an NPM.
18
            47.     As an advertising network, AdTrader primarily uses DBM to place advertising
19
     bids on behalf of its advertising clients, handles implementation of their advertisements, and
20
     monitors advertising campaigns to ensure they are reaching their intended targets at the intended
21
     prices. Most of AdTrader’s ad buys end up going to AdX. Indeed, using analytics data provided
22
     by Google itself, AdTrader determined that for all of 2017, over 70% of all of its advertising
23
     clients’ ad impressions acquired through DBM had originated from AdX as opposed to other
24
     advertising exchanges.
25
            48.     When Google charges AdTrader for clicks or impressions on its advertising
26
     clients’ ads, AdTrader advances those costs and later seeks reimbursement from its clients. On
27
     many occasions, however, AdTrader was not reimbursed by a client or was not reimbursed in full.
28
                                                                             SECOND AMENDED COMPLAINT
                                                      -9-                        CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 13 of 62



 1   Thus, to the extent that Google overcharged its advertising clients, AdTrader sometimes bore the
 2   brunt of those overcharges and had to absorb those costs itself.
 3          49.     AdTrader also paid to engage in online advertising of its own services, and used
 4   DBM and AdWords to display its own advertisements on the websites of AdX publishers.
 5          50.     As an NPM, AdTrader sold ad space on behalf of its publisher clients, who were
 6   predominantly small and mid-sized publishers. AdTrader ensured that its publisher clients were
 7   complying with the requirements of the online advertising exchanges they participated in
 8   (including AdX), ranging from actions such as making sure that advertisements are placed in the
 9   proper positions on the websites to vetting out objectionable content from those websites.
10          51.     AdTrader has worked extensively with Google for the last three years as an NPM
11   and an advertising network. In these roles, AdTrader has heavily utilized Google’s various
12   DoubleClick products, and its employees are extremely knowledgeable about how to use them
13   properly in accordance with Google’s guidelines.
14          52.     Google employees regularly communicated with AdTrader employees (in phone
15   calls, e-mails, on-line chats, and live meetings) about how to properly utilize the various
16   DoubleClick products. Those Google employees included Balint Torok (an account manager),
17   Anthony Nakache (the Director of Online Partnerships), and Rachad Saddi (a Channel Partner
18   Manager). In these discussions, Google reassured AdTrader that AdTrader and its publishers
19   were complying with all of Google’s policies, and would continue to be in compliance if they
20   followed the implementation and optimization measures suggested by those employees, which
21   AdTrader did. In fact, Mr. Torok considered AdTrader to be such a well-managed account that
22   he referred other AdX publishers to AdTrader for help and advice.
23          53.     Classic: Plaintiff Classic runs a restaurant. Classic engaged AdTrader to use
24   DBM to advertise its business on the Internet, with the majority of all ad impressions coming
25   from AdX publisher websites. Any advertising expenditures charged by Google for such ad
26   impressions were passed on by AdTrader to Classic and paid in full by Classic. Any refunds or
27   credits given by Google for such advertising expenditures would have also been passed on by
28   AdTrader to Classic.
                                                                           SECOND AMENDED COMPLAINT
                                                    - 10 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 14 of 62



 1          54.      LML: Plaintiff LML runs a restaurant. LML engaged AdTrader to use DBM to
 2   advertise its business on the Internet, with the majority of all ad impressions coming from AdX
 3   publisher websites. Any advertising expenditures charged by Google for such ad impressions
 4   were passed on by AdTrader to LML and paid in full by LML. Any refunds or credits given by
 5   Google for such advertising expenditures would have also been passed on by AdTrader to LML.
 6          55.      Ad Crunch. Plaintiff Ad Crunch formerly operated a digital advertising agency.
 7   Ad Crunch engaged AdTrader to use DBM to advertise its business on the Internet, with the
 8   majority of all ad impressions coming from AdX publisher websites. Any advertising
 9   expenditures charged by Google for such ad impressions were passed on by AdTrader to Ad
10   Crunch and paid in full by Ad Crunch. Any refunds or credits given by Google for such
11   advertising expenditures would have also been passed on by AdTrader to Ad Crunch.
12          56.      Fresh Break. Plaintiff Fresh Break runs a restaurant. Fresh Break engaged
13   AdTrader to use DBM to advertise its business on the Internet, with the majority of all ad
14   impressions coming from AdX publisher websites. Any advertising expenditures charged by
15   Google for such ad impressions were passed on by AdTrader to Fresh Break and paid in full by
16   Fresh Break. Any refunds or credits given by Google for such advertising expenditures would
17   have also been passed on by AdTrader to Fresh Break.
18          57.      SCB. Plaintiff SCB is a collections agency. It used AdWords to advertise its
19   business on the Internet. As SCB did not opt out of the Google Display Network, some of its ad
20   impressions came from AdX publisher websites.
21                Google Initiates Direct Contact with DingIt, a Key Client of AdTrader.
22          58.      In early 2017, AdTrader began a contractual relationship with DingIt.tv (“DingIt”)
23   in its capacity as an NPM. DingIt, and its parent company Level Up Media, is one of the leading
24   video hosting services for e-sports. DingIt engaged AdTrader to optimize the monetization of its
25   content, including the bidding and placement of advertisements on DingIt web properties through
26   AdX.
27
28
                                                                          SECOND AMENDED COMPLAINT
                                                    - 11 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 15 of 62



 1          59.     DingIt was pleased with the quality of AdTrader’s work. On April 26, 2017,
 2   DingIt executives had a call with AdTrader’s executives, and DingIt offered an exclusive
 3   partnership to AdTrader worth millions of dollars in added annual revenue. AdTrader accepted.
 4          60.     Google was well aware of the contractual relationship between AdTrader and
 5   DingIt. As an NPM, AdTrader needed Google’s approval to add any new publisher to its stable,
 6   and DingIt was no exception. Furthermore, in March and April 2017, AdTrader employees had
 7   specific discussions with Google employees Pavel Pimshin (then AdTrader’s account manager)
 8   and Mr. Torok about AdTrader working with DingIt.
 9          61.     On May 12, 2017, Mr. Pimshin contacted AdTrader asking it to have DingIt
10   contact Google directly, and to send Google AdTrader’s contract with DingIt. These requests
11   were unusual and concerning for AdTrader, as Google typically works directly with major
12   website publishers like DingIt to monetize their properties on AdX—the same type of service that
13   NPMs like AdTrader provide to publishers. Indeed, Mr. Torok had previously (and privately)
14   warned AdTrader employees that in his observation, NPMs would start getting into trouble with
15   Google once they reached an annual revenue run-rate of $4-5 million. At that revenue level, the
16   NPM’s publisher clients were likely generating enough revenue that Google (or a preferred AdX
17   partner typically owned by ex-Google employees) would be interested in working directly with
18   those publishers.
19          62.     Despite its concerns, AdTrader complied with Google’s requests because it had no
20   choice in the matter, as Google had given an ultimatum. On May 15, 2017, AdTrader introduced
21   Mr. Pimshin and other Google employees to Adam Simmons, an executive of Level Up Media, as
22   requested by Google. Mr. Simmons then directly communicated with those Google employees by
23   e-mail. AdTrader also gave Mr. Pimshim a copy of its contract with DingIt. As a result, Google
24   became fully knowledgeable about AdTrader’s contractual relationship with DingIt, as well as the
25   terms of AdTrader’s supply-side agreements, including when and how AdTrader remitted funds
26   received from Google to its publisher clients.
27
28
                                                                        SECOND AMENDED COMPLAINT
                                                      - 12 -                CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 16 of 62



 1       Google Suddenly Terminates AdTrader’s AdX Account and Withholds Its Earnings.
 2          63.      On May 19, 2017—four days after Google initiated direct contact with DingIt and
 3   just a few days before Google was due to pay AdTrader its accrued AdX earnings—Google
 4   abruptly terminated AdTrader’s AdX account and withheld all of its accrued earnings, claiming
 5   that unspecified sites managed by AdTrader violated AdX program policies. AdTrader received
 6   this shocking news in a generic form e-mail from Google stating, in part:
 7
            Hello,
 8
            This e-mail is to alert you that your DoubleClick Ad Exchange account was found to be
 9          non-compliant with our Ad Exchange program policies and as a result, your Ad
            Exchange account has been disabled.
10
            Current account status: Disabled
11
            Action required: None
12
            Violation explanation
13
            As stated in our program policies, sites displaying Google ads should provide substantial
14          and useful information to the user. Users should be able to easily navigate through the site
            to find what products, goods, or services are promised. Examples of misguided
15          navigation include, but are not limited to:
16          False claims of downloadable or streaming content
17          Linking to content that does not exist
18          Redirecting users to irrelevant and/or misleading webpages
19          Text on a page unrelated to the topic and/or business model of the website.
20          Payment
21          As your account has been permanently disabled, we will withhold payment of your
            account balance. As stated in the terms governing your Ad Exchange account, Google
22          reserves the right to withhold from its payments to publishers any amounts refunded to
            advertisers in connection with the publisher’s failure to comply with their Ad Exchange
23          agreement, as reasonably determined by Google. Please note that this step was taken in an
            effort to maintain the quality of the Ad Exchange program and to protect the interests of
24          our advertisers. The earnings on your account will be returned to the affected advertisers.
25          No further accounts
26          Please note that publishers disabled for invalid activity on Ad Exchange are not allowed
            any further participation in Ad Exchange, AdSense or our other ad monetization products.
27
28
                                                                          SECOND AMENDED COMPLAINT
                                                     - 13 -                   CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 17 of 62



 1          64.     AdTrader’s employees were utterly baffled by this e-mail. None of AdTrader’s
 2   publisher clients engaged in the kind of hypothetical, prohibited activities listed by Google.
 3   Indeed, Google employees had repeatedly confirmed that the websites AdTrader managed were in
 4   compliance with Google’s policies, and had held AdTrader out as a model and resource for other
 5   AdX publishers.
 6          65.     Moreover, Google’s termination notice did not even assert that AdTrader or any of
 7   its publisher clients had “infringe[d] or violate[d] a third party right”—the only basis upon which
 8   Google was permitted to “terminate [AdTrader’s] use” of AdX. Nor did it assert any of the bases
 9   upon which Google was permitted to terminate the AdX Publisher Agreement with AdTrader.
10          66.     The effects of Google’s sudden decision to terminate AdTrader’s AdX account and
11   to withhold all of its earnings were immediate and devastating. All of the more than 200
12   publishers who had contracted with AdTrader to display ads on their websites through
13   AdTrader’s AdX account were immediately shut out of AdX. Those publishers who had validly
14   displayed AdX ads on their websites and generated revenues for Google were owed money, all of
15   which Google withheld from AdTrader. Nonetheless, rather than treat its clients as Google did
16   AdTrader, AdTrader paid most of its publishers the money they were owed out of its own pocket
17   to the tune of hundreds of thousands of dollars, crippling its small business.
18       Google Refuses to Tell AdTrader Why It Terminated AdTrader’s AdX Account and
                 Withheld Its Earnings, and Summarily Denies AdTrader’s Appeal.
19
20          67.     Desperate for answers, AdTrader’s employees reached out to Google’s employees
21   for clarification, but received none. After ignoring or brushing off AdTrader for six days, Google
22   employees would say only that AdTrader’s account was permanently disabled because it was
23   found to be in violation of some unspecified AdX guidelines. Google would not tell AdTrader,
24   for example, which of AdTrader’s hundreds of publishers had committed violations, much less
25   what those violations were. AdTrader was apparently not alone in this experience, as Google, as
26   a matter of policy, refuses to provide publishers whose accounts are disabled “any information
27   about their account activity, including any web pages, users, or third-party services that might
28
                                                                           SECOND AMENDED COMPLAINT
                                                     - 14 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 18 of 62



 1   have been involved.” Google’s statement is found on one of its DoubleClick Ad Exchange Seller
 2   Help webpages, a true and correct copy of which is attached as Exhibit 5.
 3          68.     AdTrader submitted an internal appeal to Google, pursuant to Google’s
 4   procedures. Google’s appeal form, however, is a pro forma document that asks only general,
 5   standardized questions without permitting the user to elaborate on the reasons why Google’s
 6   termination and withholding decisions might be wrong. Further, because Google refused to
 7   explain which of its clients had engaged in violations or what those violations were (instead
 8   offering only hypothetical “[e]xamples”), AdTrader had no way of knowing what facts to provide
 9   Google to get it to reconsider its decision.
10          69.     Not surprisingly, Google summarily rejected AdTrader’s internal appeal by means
11   of an auto-generated e-mail that was sent a short time later. On information and belief, nobody at
12   Google closely reviewed AdTrader’s appeal, as the appeal form was designed to convey minimal
13   information to Google and give publishers the illusion that Google might reconsider its decision.
14          70.     AdTrader’s employees again asked Google representatives to provide further
15   information as to what policy AdTrader had violated, and explained that AdTrader could not
16   effectively appeal Google’s decision if it did not know what it did that was wrong. Google’s
17   employees were unmoved and refused to provide any additional information.
18          71.     Google’s employees certainly had a motive to gin up a pretextual reason to
19   terminate AdTrader’s AdX account and to conceal the real reason. As Mr. Torok had previously
20   warned AdTrader, a publisher generating as much revenue as DingIt would catch Google’s eye
21   and spell trouble for the NPM.
22          72.     On information and belief, after Google terminated AdTrader’s account on May
23   19, 2017, Google contacted DingIt to begin a direct relationship. Indeed, months after Google
24   terminated AdTrader’s account, reports showed that Google was still selling huge volumes of
25   DingIt traffic to advertisers (e.g., 10 billion impressions over a 30-day period) through DBM.
26
27
28
                                                                          SECOND AMENDED COMPLAINT
                                                    - 15 -                    CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 19 of 62


         Google Misrepresents That All of the Activity on AdTrader’s AdX Account Was Invalid,
 1                 and That All of Its Earnings Were Being Refunded to Advertisers.
 2
              73.    On May 24, 2017, AdTrader employees finally managed to get Mr. Nakache
 3
     (Google’s Director of Online Partnerships) on the phone to inquire about the reasons for its
 4
     termination and the withholding of its earnings.
 5
              74.    On that recorded May 24, 2017 call, Mr. Nakache represented to AdTrader’s
 6
     employees that all of the activity in AdTrader’s AdX account was in violation of Google’s policy,
 7
     and that every single advertiser who paid for an impression on any of AdTrader’s publisher
 8
     clients’ sites would get their money back:
 9
10            AdTrader: All of the money is going to be refunded to advertisers?
11            Nakache: Yes.
12            AdTrader: Does that mean that every single impression and every single click for all of
              our publishers has been…
13
              Nakache: Exactly. Everything in the account, the account is in violation of our policy,
14            advertisers have been impacted, and as a result we have made the decision to refund all
              the advertisers and all the revshare from Google.
15
              ***
16
              AdTrader: So, every single advertisers [sic] who has bought a single impression for the
17            past two months from any of our publishers will get their money back? Is that correct?
18            Nakache: Yes.
19            ***
20            AdTrader: I see. OK, so we are not going to receive anything unless the appeal is
              successful we will not be paid anything.
21
              Nakache: No, the money is going to be paid back to the advertisers.
22
              AdTrader: So, whether the appeal is successful or not, we will still not receive the
23            payment, is that correct?
24            Nakache: Yes.3
25            75.    Mr. Nakache’s statements were false. It was not true that “every single impression
26   and every single click” on AdTrader’s publisher clients’ ads were “in violation of [Google’s]
27
     3
      Mr. Nakache is located in Ireland and AdTrader’s employee was also located out of the United
28   States at the time. Therefore, California’s two-party consent law does not apply.
                                                                            SECOND AMENDED COMPLAINT
                                                      - 16 -                    CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 20 of 62



 1   policy.” In fact, Google has made the following judicial admission in this action: “Google admits
 2   that it did not affirmatively determine prior to AdTrader’s termination that every single ad
 3   impression AdTrader served in [April or May 2017] was invalid.” (Google’s Responses to
 4   AdTrader’s Requests for Admission (“RFAs”) Nos. 13, 15.)
 5           76.    Nor, as Mr. Nakache represented, did Google “refund all the advertisers and all the
 6   revshare from Google,” or issue refunds to “every single advertiser[]” who paid for an impression
 7   on an AdTrader publisher site. Again, Google has judicially admitted this: “Google admits it did
 8   not credit back to advertisers the entirety of amounts withheld from AdTrader.” (Google’s
 9   Response to RFA No. 5.) Indeed, of the $476,622.69 of accrued AdX earnings that Google
10   withheld from AdTrader, Google now contends that it “refunded or credited $335,362.79 to
11   advertisers who had purchased advertising space from AdTrader in connection with AdTrader’s
12   termination.” (Google’s Response to Interrogatory No. 4.)4
13           77.    Even before filing this action, AdTrader had independent proof that Google did not
14   refund all of the revenue it withheld from AdTrader to advertisers, as Google had claimed it
15   would do. During the last earnings period prior to AdTrader’s account termination, AdTrader had
16   used DBM to display a number of its advertising clients’ ads (and its own ads) on the websites of
17   its AdX publisher clients. A small sampling of such examples includes:
18                  a.      Citroen, Daza, Ivet.bg, Mackeeper, Mytime.mk, Refan, and Tehnomix
19   advertised on the website of an AdTrader publisher named athletic.net.
20                  b.      Allianz.bg, Gosport.bg, Mytime.mk and VIP Watches advertised on the
21   website of an AdTrader publisher named bgbasket.com.
22                  c.      Citroen, Daza, Delimano, Diamonds Club, Dormeo, Gosport.bg, Happy
23   Bulgaria, Ivet.bg, MaistorPlus, Markiiza, Max Credit, Nestle, Sportex, Topcho, and VIP Watches
24   advertised on the website of an AdTrader publisher named blitz.bg. (AdTrader also put up its
25   own advertisements on that website as well.)
26
     4
      Plaintiffs are not alleging that the contents of Google’s interrogatory response are true.
27   Plaintiffs are merely reciting the contents of the response itself to show that, even if one believes
     Google (and Plaintiffs certainly do not), Google’s own admission materially undercuts its own
28   defense.
                                                                            SECOND AMENDED COMPLAINT
                                                     - 17 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 21 of 62



 1                  d.      Allianz.bg, Citroen, Daza, Diamonds Club, Dormeo, Gosport.bg, Happy
 2   Bulgaria, Ivet.bg, Mackeeper, Refan, Tehnomix, and VIP Watches advertised on the website of
 3   an AdTrader publisher named cheezburger.com. (AdTrader also put up its own advertisements
 4   on that website as well.)
 5                  e.      Citroen, Daza, Delimano, Diamonds Club, Dormeo, Gosport.bg, Happy
 6   Bulgaria, Ivet.bg, Max Credit, Nestle, Refan, Sportex, Tehnomix, and VIP Watches advertised on
 7   the website of an AdTrader publisher named dir.bg. (AdTrader also put up its own
 8   advertisements on that website as well.)
 9                  f.      Citroen, Daza, Dormeo, Gosport.bg, Happy Bulgaria, Ivet.bg, Mackeeper,
10   Nestle, Refan, Sportex, Tehnomix, and VIP Watches advertised on various websites published by
11   the International Business Times, which was also an AdTrader publisher. (AdTrader also put up
12   its own advertisements on these websites as well.)
13                  g.      Citroen, Daza, Delimano, Diamonds Club, Dormeo, Gosport.bg, Happy
14   Bulgaria, Ivet.bg, Mackeeper, Max Credit, Nestle, Refan, Tehnomix, and VIP Watches advertised
15   on the popular video-gaming website IGN, which was also an AdTrader publisher. (AdTrader
16   also put up its own advertisements on that website as well.)
17                  h.      Citroen, Mytime.mk, Sportex, and VIP Watches advertised on the website
18   of an AdTrader publisher named investor.bg.
19          78.     AdTrader never got any refunds or credits from Google through DBM despite
20   having run those aforementioned advertisements and notwithstanding Mr. Nakache’s emphatic
21   statements to the contrary. And for AdTrader’s advertising clients that also run advertisements on
22   AdTrader’s publisher’s websites using their individual AdWords accounts, none of them received
23   any refunds or credits on their individual accounts for these specific advertisements.
24          79.     AdTrader checked with one of its channel partners, a well-known DoubleClick
25   certified marketing partner, who handled many of AdTrader’s ad buys through DBM. That
26   channel partner confirmed that AdTrader had not received any refunds from Google for
27   advertising it had made through DBM on AdX publisher websites.
28
                                                                           SECOND AMENDED COMPLAINT
                                                    - 18 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 22 of 62



 1            80.   But, just to be sure, AdTrader checked its AdWords invoices to see if the refunds
 2   Mr. Nakache claimed Google had made could have been reflected there instead of a DBM
 3   invoice. Those AdWords invoices, however, showed that Google had not issued Mr. Nakache’s
 4   claimed refunds.
 5            81.   Alerted to this inconsistency, AdTrader reviewed its earlier records to see whether
 6   it had ever previously received a refund or credit from Google for ad buys made on AdX through
 7   DBM or AdWords. (Google gives separate monthly invoices for ad buys made through DBM
 8   and for advertising done via AdWords.) As for AdTrader’s DBM account, Google gave no
 9   refunds or credits even though, every single month, Google withheld a small amount of accrued
10   earnings from AdTrader on its publishing activities for what it deemed to be invalid activity.
11   During some of these same months, however, AdTrader and its advertising clients had bought
12   traffic from some of those same websites through DBM, so if Google’s explanation was true, then
13   AdTrader and its advertising clients should have received some refunds or credits almost every
14   month.
15            82.   As for AdTrader’s AdWords’ account, that account did reflect some credits from
16   Google over the years, but always in miniscule amounts and, furthermore, Google does not
17   provide any detail as to why those refunds are being provided. For example, an AdWords
18   advertiser has no way of knowing whether a refund or credit is coming for an ad impression
19   placed on an AdX publisher’s website, or a Youtube video, or an AdSense publisher’s website, or
20   from Google Search. Only Google knows that information and it does not share such information
21   with any AdWords advertisers. On information and belief, Google has not, in fact, been issuing
22   any refunds or credits for AdWords advertisements displayed on an AdX publisher’s website after
23   it subsequently determines that the impressions or clicks for those advertisements were invalid.
24            83.   AdTrader also discovered that other advertisers had not received credits or refunds
25   from Google. Following the filing of this lawsuit, representatives from Criteo – a publicly traded
26   marketing company that engages in substantial amounts of online advertising – contacted
27   employees of AdTrader. Criteo’s representatives informed AdTrader that the company’s records
28
                                                                          SECOND AMENDED COMPLAINT
                                                    - 19 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 23 of 62



 1   did not show any evidence of it having received refunds from Google for advertising expenditures
 2   it made via AdX Buyer.
 3          84.     In addition, a prominent journalist who has investigated Google in the past
 4   informed AdTrader that, over the years, his advertiser sources also confirmed that they had never
 5   received any refunds from Google, contrary to Google’s representations. But since advertisers
 6   had no visibility into what Google did with its publishers, no one ever raised any challenges to
 7   Google.
 8   Google Publicly Acknowledges That Its Promises to Refund Advertisers for Invalid Traffic
                             Were Not True with Respect to DBM.
 9
10          85.     Public statements made by Google further confirm that, in many cases, Google did
11   not issue credits or refunds to advertisers for invalid activity detected by Google, as it promised it
12   would do.
13          86.     On August 25, 2017, an article published in the Wall Street Journal explained that
14   Google had detected a surge of ad fraud during the second quarter of 2017 affecting advertisers
15   who purchased advertising using DBM. But rather than offer full refunds or credits to those
16   advertisers, Google was offering only a modest reimbursement – about 7-10% of the total
17   amounts spent by those advertisers (with some advertisers apparently getting much less). These
18   amounts represent only the “platform fee” that advertisers pay to Google, not the amounts the
19   advertisers paid to Google for the invalid activity.
20          87.     Google’s proffered defense in this article was that it could not offer more in
21   refunds “because it doesn’t control the rest of the money spent.” But that statement was itself
22   untrue, as previously alleged in greater detail, the vast majority of advertisements purchased on
23   DBM go to AdX publisher websites (or AdSense publisher websites), and Google routinely
24   deducts or withholds payments to those publishers (like it did for AdTrader) on the grounds that
25   some or all of the clicks or impressions generated on that website were somehow invalid.
26          88.     Apparently, some executive at Google read the August 25, 2017 Wall Street
27   Journal article and realized that it publicly exposed that Google was not giving full refunds or
28   credits as Google had promised. Thus, on or around September 1, 2017, Google suddenly
                                                                            SECOND AMENDED COMPLAINT
                                                     - 20 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 24 of 62



 1   changed the terms of the contract governing its relationship with AdWords advertisers – the
 2   AdWords Agreement – to require that they arbitrate their disputes with Google and precluding
 3   them from bringing any class actions against Google. It is plainly obvious that Google made such
 4   changes directly in response to the August 25, 2017 Wall Street Journal article to prevent
 5   advertisers (especially smaller advertisers) from suing Google and obtaining redress. This sudden
 6   change to the contract terms was particularly egregious because it purported to require advertisers
 7   to arbitrate any claim they had against Google arising prior to the date of the contract
 8   modification. But in all prior iterations of the AdWords Agreement, Google specifically
 9   represented to everyone that any future “changes to the Terms will not apply retroactively[.]”
10             89.    Furthermore, after AdTrader filed this lawsuit on December 13, 2017, Google
11   publicly acknowledged that it had not been providing the promised refund or credits to advertisers
12   for invalid activity. In response to media attention surrounding this lawsuit, Google’s authorized
13   spokesperson informed Thomas Claburn, a journalist for a UK publication called The Register,
14   that “Google has a longstanding policy of refunding advertisers for invalid traffic,” but that this
15   policy was only “currently being expanded to include ads purchased via DoubleClick Bid
16   Manager.” That is, Google itself has acknowledged that, prior to the filing of this lawsuit, its
17   repeated promises that it would issue refunds to advertisers for invalid traffic were not true with
18   respect to ads bought through DBM. A true and correct copy of The Register article where
19   Google’s statements were published is attached as Exhibit 10. Google has since judicially
20   admitted that its spokesperson had indeed made these statements. (Google’s Response to RFA
21   No. 1.)
22                                    CLASS ACTION ALLEGATIONS
23             90.    AdTrader, Classic, LML, Ad Crunch, and Fresh Break bring this action on behalf
24   of themselves and an AdX Advertiser Class, defined as:
25             All persons and entities that, at any time during the applicable limitations period,
               were charged by Google through AdX Buyer for clicks or impressions on
26             advertisements displayed on the website of a third-party publisher participating in
               the DoubleClick Ad Exchange, and did not receive refunds or credits for
27             advertising expenditures spent by them on that publisher website after Google
               withheld any amount of payment to that publisher for what Google claimed to be
28             invalid activity or non-compliance with a Google policy.
                                                                             SECOND AMENDED COMPLAINT
                                                       - 21 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 25 of 62



 1          91.     Plaintiffs also bring this action on behalf of themselves and an AdWords
 2   Advertiser Class, defined as:
 3          All persons and entities that, at any time during the applicable limitations period,
            were charged by Google through AdWords for clicks or impressions on
 4          advertisements displayed on the website of a third-party publisher participating in
            the DoubleClick Ad Exchange, and did not receive refunds or credits for
 5          advertising expenditures spent by them on that publisher website after Google
            withheld any amount of payment to that publisher for what Google claimed to be
 6          invalid activity or non-compliance with a Google policy.
 7          92.     AdTrader, Classic, LML, Ad Crunch, and Fresh Break additionally bring this
 8   action on behalf of themselves and a DBM Advertiser Class, defined as:
 9          All persons and entities that, at any time during the applicable limitations period,
            were charged by Google through DoubleClick Bid Manager for advertising space
10          on the website of a third-party publisher, and did not receive refunds or credits for
            advertising expenditures spent by them on that publisher website after Google
11          withheld any amount of payment to that publisher for any reason.
12          93.     AdTrader, Classic, LML, Ad Crunch, and Fresh Break additionally bring this
13   action on behalf of themselves and a DBM-AdX Advertiser Sub-Class, defined as:
14          All persons and entities that, at any time during the applicable limitations period,
            were charged by Google through DoubleClick Bid Manager for advertising space
15          on the website of a third-party publisher participating in the DoubleClick Ad
            Exchange, and did not receive refunds or credits for advertising expenditures
16          spent by them on that publisher website after Google withheld any amount of
            payment to that publisher for what Google claimed to be invalid activity or non-
17          compliance with a Google policy.
18          94.     Through the process of seeking and obtaining class certification, Plaintiffs reserve
19   the right to amend the definitions of the proposed classes, as appropriate.
20          95.     Excluded from the Class and Sub-Class are the officers, directors, and employees
21   of Google, any judicial officer presiding over this action, and the members of his or her
22   immediate family and judicial staff.
23          96.     This action is brought and may properly be maintained as a class action pursuant
24   to Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3).
25          97.     The Classes and Sub-Class are so numerous that joinder of all members is
26   impracticable. There are tens of thousands, if not hundreds of thousands, of persons and entities
27   that have done online advertising on an AdX publisher website. The precise number and identity
28   of the members of the Classes and Sub-Class can be obtained from the records of Google.
                                                                           SECOND AMENDED COMPLAINT
                                                    - 22 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 26 of 62



 1           98.     There are numerous questions of law and fact common to the members of the
 2   Classes and Sub-Class which predominate over any questions affecting only individual members
 3   including: (i) whether Google breached its contracts with its advertising clients by failing to
 4   provide them refunds or credits for clicks or impressions that Google deemed to be invalid, (ii)
 5   whether Google breached the implied covenant of good faith and fair dealing to its advertising
 6   clients by failing to provide them refunds or credits for clicks or impressions that Google deemed
 7   to be invalid, (iii) whether Google breached the implied duty to perform with reasonable care to
 8   its advertising clients by failing to provide them with correct analytics to allow them to determine
 9   whether the clicks or impressions on their advertisements were invalid, (iv) whether Google
10   violated California’s False Advertising Law by falsely promising advertisers that it would provide
11   them refunds or credits for clicks or impressions that Google deemed to be invalid, (v) whether
12   Google violated California’s Unfair Competition Law by failing to provide its advertising clients
13   refunds or credits for clicks or impressions that Google deemed to be invalid, and (vi) whether
14   Plaintiffs and the members of the Class are entitled to damages, restitution, and injunctive relief
15   for Google’s conduct.
16                        ADTRADER’S INDIVIDUAL CLAIMS FOR RELIEF
17                                     FIRST CAUSE OF ACTION:
                               Breach of Contract (AdX Publisher Agreement)
18                                      by AdTrader Against Google
                                            (Individual Claim)
19
20           99.     Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
21   fully set forth herein.
22           100.    AdTrader entered into the AdX Publisher Agreement with Google. The primary
23   obligations of an AdX publisher are set forth in Section 2.3 of the agreement, which requires that
24   the publisher adhere to Google’s published AdX Guidelines and Google’s technical protocols.
25           101.    AdTrader substantially performed all of its obligations under the AdX Publisher
26   Agreement. AdTrader’s publisher clients displayed advertisements on their websites delivered by
27   Google, and thereby generated advertising revenue for Google. AdTrader ensured that its
28   publisher clients adhered to Google’s guidelines when displaying advertisements through AdX on
                                                                            SECOND AMENDED COMPLAINT
                                                     - 23 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 27 of 62



 1   their websites, including displaying only content that adhered to Google’s policies. Furthermore,
 2   as previously alleged, Google employees confirmed on multiple occasions (in-person, by phone
 3   calls, by Internet chat, and by e-mail) that AdTrader’s publisher websites were in compliance
 4   with Google’s policies.
 5                  Google Breaches By Withholding AdTrader’s Accrued Earnings
 6          102.    In breach of the AdX Publisher Agreement, Google failed to pay AdTrader for all
 7   of the valid clicks or impressions on advertisements displayed on its publisher clients’ websites
 8   using Google’s AdX program.
 9          103.    Under Section 8.2(a) of the AdX Publisher Agreement, Google agreed that it “will
10   pay [AdTrader] an amount equal to the Revenue Share Percentage [specified in the agreement] of
11   Ad Revenues attributable to a calendar month.”
12          104.    Under Section 8.2(b), Google could withhold AdTrader’s revenues only for “(i)
13   invalid queries, impressions, conversions, or clicks, and (ii) any amounts refunded to advertisers
14   in connection with Company’s failure to comply with this Agreement, as reasonably determined
15   by Google.” In other words, both conditions precedent must be satisfied before Google is
16   permitted to withhold accrued AdX earnings from a publisher – i.e., Google cannot withhold
17   accrued earnings for invalid activity on an AdX publisher’s website alone; Google could withhold
18   those earnings only if it had also issued refunds to advertisers that had displayed advertisements
19   on those publishers’ websites.
20          105.    Google invoked only the second condition in Section 8.2(b), claiming that all of
21   the earnings withheld from AdTrader would be returned to affected advertisers. But Google has
22   judicially admitted in this action that “it did not credit back to advertisers the entirety of amounts
23   withheld from AdTrader,” and thus, at the very least, was not permitted to withhold from
24   AdTrader those amounts that were not returned to advertisers. Thus, Google’s actions in
25   withholding payment from AdTrader breached the AdX Publisher Agreement.
26          106.    Google also breached the AdX Publisher Agreement because it did not
27   “reasonably determine[]” either (i) the “invalid queries, impressions, conversions, or clicks” that
28
                                                                             SECOND AMENDED COMPLAINT
                                                      - 24 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 28 of 62



 1   they claim AdTrader had, or that AdTrader had “fail[ed] to comply with the [AdX Publisher]
 2   Agreement[,]” as required by Section 8.2(b).
 3          107.    Google’s May 19, 2017 termination notice did not even claim that there were
 4   “invalid queries, impressions, conversions, or clicks” on advertisements displayed by AdTrader’s
 5   publisher clients. Nor would there have been any basis for Google to make such a claim, as the
 6   websites that AdTrader managed had, at most, a negligible amount of such activity. In fact,
 7   Google account manager Balint Torok previously told AdTrader employees the percentage of
 8   invalid impressions that AdTrader’s publishers had for each billing period, and based on those
 9   representations, only 0.15% - 0.2% of AdTrader’s estimated revenue for the average billing
10   period was the product of invalid activity (and accordingly deducted). Mr. Torok informed
11   AdTrader that this was an exceptionally low number compared to the vast majority of other AdX
12   publishers, as the average amount of invalid activity on an AdX publisher website was usually
13   several percentage points.
14          108.    Also, at all relevant times, AdTrader ensured that its publisher clients adhered to
15   Google’s policies and guidelines, and was previously and repeatedly informed by Google that its
16   publisher clients were in compliance with Google’s policies.
17          109.    Moreover, because AdTrader published ads only on its publisher clients’ sites, the
18   only way that AdTrader could have violated a Google policy was if one or more of its clients had
19   done so. But to AdTrader’s knowledge, none of its publisher clients have had their individual
20   AdX or AdSense accounts terminated or suspended by Google, despite the fact that AdTrader’s
21   earnings were withheld for some of those same publishers’ supposed violations. Indeed, Google
22   maintains files available to DBM users that identify the active participants in AdX, and as of the
23   filing of this pleading, these files show that multiple AdTrader publisher clients such as
24   dubizzle.com, IGN, ytn.co.kr, OLX, mydotcomrade.com, seoul.com.kr., dir.bg,
25   standartnews.com, khan.co.kr all continue to monetize their content through AdX.
26
27
28
                                                                           SECOND AMENDED COMPLAINT
                                                    - 25 -                     CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 29 of 62



 1           110.   AdTrader’s publisher clients remain active on AdX despite the fact that Google’s
 2   termination e-mail stated that “publishers5 disabled for invalid activity on Ad Exchange are not
 3   allowed any further participation in Ad Exchange, AdSense or our other ads monetization
 4   products.” Therefore, if AdTrader had, in fact, violated an AdX policy, then at least some of its
 5   publisher clients necessarily would also have had their individual accounts disabled, because
 6   AdTrader (as an NPM) only worked on the websites of its publisher clients. The fact that none of
 7   AdTrader’s publisher clients suffered a similar fate is proof that AdTrader did not, in fact, violate
 8   any Google policies.
 9           111.   Further, Google did not report any policy violations on the “Policy Violations”
10   page of AdTrader’s DoubleClick for Publishers account (which was tied to its AdX account).
11   Google also did not give AdTrader any prior notice that AdTrader had breached the AdX
12   Publisher Agreement.
13           112.   As previously alleged in greater detail, Google’s refusal to communicate with
14   AdTrader regarding its withholding and termination decision meant that it did not “reasonably
15   determine” what amount of accrued earnings to withhold from AdTrader—among other things,
16   AdTrader was not given any meaningful opportunity to point out any potential errors Google
17   made, or that the overwhelming majority of its 200 publisher client websites could not have
18   possibly been violating any Google rules. Nor would Google pay any heed to AdTrader’s
19   arguments or supporting data.
20           113.   As a proximate result of Google’s breaches of contract, AdTrader has been
21   damaged by $476,622.69 – the amount of the accrued AdX earnings that Google withheld from
22   AdTrader.
23           114.   In addition, Google’s breach of contract has resulted in lost profits to AdTrader’s
24   business as a whole. AdTrader’s monetization operation for publishers has disintegrated, and
25   AdTrader has thus lost out on all future business from its clients. AdTrader has also lost out on
26
27
     5
      Google uses the term “publisher” to refer to anyone operating on the sell-side of AdX, including
28   NPMs.
                                                                            SECOND AMENDED COMPLAINT
                                                     - 26 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 30 of 62



 1   future business from other publishing clients that had reached out to the company for its products
 2   and services.
 3          115.     Google was fully aware that its breach of contract could result in lost future profits
 4   for AdTrader. The AdX program specifically contemplates that participants would include
 5   businesses that manage monetization of on-line advertising for web publishers. It therefore is
 6   foreseeable that a failure by Google to pay an NPM the amounts owed to it and its publishers
 7   under the AdX program would result in a loss of future business to that NPM.
 8                   Google Breaches By Improperly Terminating the AdX Account
 9          116.     In addition to the aforementioned breaches, Google also breached the AdX
10   Publisher Agreement by improperly terminating AdTrader’s AdX account.
11          117.     Google’s May 19, 2017 violation notice to AdTrader stated that AdTrader’s AdX
12   account had been “permanently disabled,” and that “publishers disabled for invalid activity on Ad
13   Exchange are not allowed any further participation in Ad Exchange, AdSense or [Google’s] other
14   monetization products.” But under Section 13.2(c) of the AdX Publisher Agreement, there is
15   only one basis upon which Google was permitted to “terminate” AdTrader’s “use of the
16   Services”—when a publisher’s use of those services “are alleged or reasonably believed by
17   Google to infringe or violate a third party right.” Google’s notice of violation, however, did not
18   accuse AdTrader of “infring[ing] or violat[ing]” any “third party right.”
19          118.     Furthermore, Section 13.2 of the AdX Publisher Agreement also sets forth the
20   conditions under which either party may terminate “this Agreement.” But Google’s May 19,
21   2017 violation notice did not purport to terminate the AdX Publisher Agreement with
22   AdTrader. And, even if Google’s violation notice were construed as an attempt to terminate that
23   agreement, none of the conditions under which Google could terminate the agreement were met:
24                   a.     Section 13.2(a) of the AdX Publisher Agreement states that: “Either party
25   may terminate this Agreement with notice if the other party is in material breach of this
26   Agreement: (i) where the breach is incapable of remedy; (ii) where the breach is capable of
27   remedy and the party in breach fails to remedy that breach within 30 days after receiving notice
28   from the other party; or (iii) more than twice even if the previous breaches were remedied.” But
                                                                            SECOND AMENDED COMPLAINT
                                                     - 27 -                     CASE NO. 5:17-CV-7082-BLF
       Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 31 of 62



 1   there was no indication that AdTrader’s purported “breach [was] incapable of remedy.” Indeed,
 2   AdTrader could have easily remedied the alleged violations, for example, by instructing any of its
 3   publisher engaged in any violations to stop, or by ceasing to work with that particular
 4   publisher. Second, Google never even gave AdTrader an opportunity “to remedy [any purported]
 5   breach within 30 days after receiving notice” of the alleged violation from Google; Google
 6   terminated AdTrader’s AdX account immediately. Third, Google’s violation notice gave no
 7   indication that AdTrader was in material breach “more than twice.”
 8                   b.     Section 13.2(b) of the AdX Publisher Agreement states that: “Either party
 9   may terminate this Agreement for any or no reason upon 30 days prior notice to the other
10   party.” Google, however, did not provide AdTrader with any prior notice of termination, let
11   alone the 30 days’ notice required by Section 13.2(b). Had Google provided the required notice,
12   AdTrader would have had an opportunity to correct any alleged violations, or at the very least, to
13   make alternative arrangements with its many publisher clients before Google pulled the
14   plug. Moreover, during those 30 days prior to termination, AdTrader would have continued to
15   earn revenues for the valid activity on its AdX publishers’ websites.
16                   c.     Lastly, Section 13.2(d) states that: “Google may terminate this Agreement
17   immediately with notice if pornographic content that is illegal under U.S. law is displayed on any
18   Site.” There has never been any suggestion by Google that any of AdTrader’s publisher clients
19   ever displayed such content.
20           119.    As a proximate result of Google’s breach in improperly terminating AdTrader’s
21   AdX account, AdTrader suffered damages because it could no longer monetize its existing
22   publisher clients’ websites using AdX. AdTrader would have earned substantial revenue between
23   May 19, 2017 to whatever date that would have followed 30 days after Google properly gave a
24   notice of termination pursuant to section 13.2(a)(ii). As Google has yet to give such a proper
25   notice of termination, at a minimum, the Court should construe this date to be no earlier than the
26   date of this filing.
27           120.    Google was fully aware that its breach of contract could result in such damages for
28   AdTrader. The AdX program specifically contemplates that participants would include
                                                                             SECOND AMENDED COMPLAINT
                                                    - 28 -                       CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 32 of 62



 1   businesses that manage monetization of on-line advertising for web publishers. It therefore is
 2   foreseeable that the termination of an NPM’s AdX account would result in a loss of revenue to
 3   that NPM.
 4                                  SECOND CAUSE OF ACTION:
                     Breach of the Implied Covenant of Good Faith and Fair Dealing
 5                                    (AdX Publisher Agreement)
                                      by AdTrader against Google
 6                                         (Individual Claim)
 7           121.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
 8   fully set forth herein. AdTrader expressly pleads this claim in the alternative to its breach of
 9   contract claim, should it be determined that Google had subjective discretion to withhold
10   payments to AdX publishers under section 8.2(b) of the AdX Publisher Agreement.
11           122.    As previously alleged in greater detail, AdTrader entered into the AdX Publisher
12   Agreement with Google, and substantially performed under that agreement.
13           123.    There exists in every contract, including in the AdX Publisher Agreement, an
14   implied covenant of good faith and fair dealing, requiring that each party not do anything to
15   unfairly interfere with the right of the other party to receive the benefits of the contract.
16           124.    As previously alleged in greater detail, in breach of the implied covenant, Google
17   unfairly frustrated AdTrader’s right to receive its accrued revenue by arbitrarily refusing to pay
18   AdTrader for all of the valid clicks or impressions on advertisements displayed on its publisher
19   clients’ websites using Google’s AdX program. Google arbitrarily withheld all of AdTrader’s
20   accrued earnings, rather than just those earnings supposedly attributable to invalid activity.
21           125.    As a proximate result of Google’s breach of the implied covenant of good faith
22   and fair dealing, AdTrader has been damaged in the amount of the accrued AdX earnings that
23   Google withheld from it but should have paid to it.
24                                     THIRD CAUSE OF ACTION:
                                   Intentional Interference with Contract
25                                      by AdTrader against Google
                                             (Individual Claim)
26
             126.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
27
     fully set forth herein.
28
                                                                              SECOND AMENDED COMPLAINT
                                                      - 29 -                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 33 of 62



 1          127.    As previously alleged in greater detail, AdTrader and DingIt had a contractual
 2   relationship, whereby AdTrader helped DingIt optimize the monetization of its content through
 3   AdX. And as previously alleged in greater detail, Google knew of the existence of AdTrader’s
 4   contractual relationship with DingIt.
 5          128.    Google’s decision to withhold AdTrader’s accrued AdX earnings made
 6   AdTrader’s further performance under its contractual relationship with DingIt impossible, or at
 7   least extremely difficult, as DingIt ceased using AdTrader’s services when AdTrader was unable
 8   to remit the full amount of earnings owed to DingIt.
 9          129.    In addition, Google’s decision to improperly terminate AdTrader’s AdX account
10   made AdTrader’s further performance under its contractual relationship with DingIt impossible,
11   as AdTrader could not perform any AdX-related services for DingIt without having access to
12   AdX.
13          130.    Google knew that its actions would disrupt AdTrader’s performance under its
14   contract with DingIt. Google had extensively worked with AdTrader for nearly four years, and
15   knew that either withholding AdTrader’s AdX earnings or terminating AdTrader’s AdX account
16   would prevent AdTrader from being able to fulfill its contractual duties to DingIt. Google also
17   had a copy of AdTrader’s contract with DingIt, and thus knew that AdTrader was obligated to
18   remit some of its accrued earnings to DingIt, and to perform AdX-related services for DingIt.
19   Furthermore, Google has extensively worked with NPMs similar to AdTrader for years, and was
20   familiar enough with the business model of these companies to know that either withholding
21   accrued earnings or terminating their AdX account would cripple these businesses.
22          131.    On information and belief, Google intended to disrupt AdTrader’s relationship
23   with DingIt. In particular, DingIt, and its parent company Level Up Media, is one of the leading
24   video hosting services for e-sports. Google typically has a direct relationship with major website
25   publishers and helps those publishers monetize their properties on AdX (i.e., the same types of
26   services that NPMs like AdTrader provide). Google thus had a clear financial incentive to cause
27   DingIt to work directly with Google (or a preferred AdX partner that is typically owned by ex-
28
                                                                          SECOND AMENDED COMPLAINT
                                                   - 30 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 34 of 62



 1   Google employees). It is not a coincidence that Google abruptly terminated AdTrader’s AdX
 2   account on May 19, 2017, only a few days after Google initiated direct contact with DingIt.
 3          132.    AdTrader was harmed as a result of Google’s interference. Google’s actions
 4   caused AdTrader to lose the DingIt account, and the revenue it represented. Indeed, just prior to
 5   AdTrader’s account termination, DingIt and AdTrader had entered into an exclusive agreement
 6   for AdTrader to further monetize DingIt’s websites, which would have generated approximately
 7   $6 million in revenue for AdTrader through the rest of 2017 alone. And going forward, this
 8   relationship would have been worth tens of millions of dollars in annual revenue for AdTrader.
 9          133.    AdTrader also had a contractual relationship with Dubizzle FZ LLC (“Dubizzle”),
10   a member of OLX Group. OLX runs online marketplaces and online classified advertisements
11   similar to Craigslist, and is largely based in emerging market economies such as the United Arab
12   Emirates, India, Brazil, Pakistan, Poland, and Portugal. AdTrader had entered into a contract
13   with Dubizzle on or around December 17, 2015, and that contractual relationship was still extant
14   as of the date that Google withheld AdTrader’s accrued AdX earnings.
15          134.    AdTrader’s relationship with Dubizzle was in its capacity as an NPM, and thus
16   AdTrader’s contractual duty was to help Dubizzle optimize the monetization of its content
17   through AdX. In return, Dubizzle paid AdTrader a share of the AdX publisher revenue generated
18   from displaying advertisements on Dubizzle’s websites.
19          135.    Google was aware of the existence of AdTrader’s contractual relationship with
20   Dubizzle, because Google required AdTrader to register Dubizzle in AdX as part of AdTrader’s
21   obligations as an NPM to register each of its publisher partners, and because Google had a copy
22   of AdTrader’s supply agreement with its publishers.
23          136.    Google’s decision to improperly terminate AdTrader’s AdX account made
24   AdTrader’s further performance under its contractual relationship with Dubizzle impossible, as
25   AdTrader could not perform any AdX-related services for Dubizzle without having access to
26   AdX.
27          137.    AdTrader also had a contractual relationship with Dir.bg Group (“Dir”). Dir is one
28   of the largest online groups in Bulgaria. AdTrader had entered into a contract with Dir on or
                                                                          SECOND AMENDED COMPLAINT
                                                   - 31 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 35 of 62



 1   around February 8, 2016, and that contractual relationship was still extant as of the date that
 2   Google withheld AdTrader’s accrued AdX earnings.
 3          138.    AdTrader’s relationship with Dir was in its capacity as an NPM, and thus
 4   AdTrader’s contractual duty was to help Dir optimize the monetization of its content through
 5   AdX. In return, Dir paid AdTrader a share of the AdX publisher revenue generated from
 6   displaying advertisements on Dir’s websites.
 7          139.    Google was aware of the existence of AdTrader’s contractual relationship with
 8   Dir, because Google required AdTrader to register Dir in AdX as part of AdTrader’s obligations
 9   as an NPM to register each of its publisher partners, and because Google had a copy of
10   AdTrader’s supply agreement with its publishers.
11          140.    Google’s decision to improperly terminate AdTrader’s AdX account made
12   AdTrader’s further performance under its contractual relationship with Dir impossible, as
13   AdTrader could not perform any AdX-related services for Dir without having access to AdX.
14          141.    AdTrader also had a contractual relationship with Investor.bg Group (“Investor”).
15   Investor is one of the largest online groups in Bulgaria. AdTrader had entered into a contract
16   with Investor on or around April 27, 2015, and that contractual relationship was still extant as of
17   the date that Google withheld AdTrader’s accrued AdX earnings.
18          142.    AdTrader’s relationship with Investor was in its capacity as an NPM, and thus
19   AdTrader’s contractual duty was to help helped Investor optimize the monetization of its content
20   through AdX. In return, Investor paid AdTrader a share of the AdX publisher revenue generated
21   from displaying advertisements on Investor’s websites.
22          143.    Google was aware of the existence of AdTrader’s contractual relationship with
23   Investor, because Google required AdTrader to register Investor in AdX as part of AdTrader’s
24   obligations as an NPM to register each of its publisher partners, and because Google had a copy
25   of AdTrader’s supply agreement with its publishers.
26          144.    Google’s decision to improperly terminate AdTrader’s AdX account made
27   AdTrader’s further performance under its contractual relationship with Investor impossible, as
28   AdTrader could not perform any AdX-related services for Investor without having access to AdX.
                                                                           SECOND AMENDED COMPLAINT
                                                     - 32 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 36 of 62



 1           145.    Google knew that its actions would disrupt AdTrader’s performance under its
 2   contracts with Dubizzle, Dir, and Investor. Google had extensively worked with AdTrader for
 3   nearly four years by that point in time and knew that improperly terminating AdTrader’s AdX
 4   account would prevent AdTrader from fulfilling its contractual duties to any of its publisher
 5   partners, including Dubizzle, Dir, and Investor.
 6           146.    AdTrader was harmed as a result of Google’s interference. Google’s actions
 7   caused AdTrader to lose the Dubizzle, Dir, and Investor accounts, and the revenue they
 8   represented. At the time of AdTrader’s account termination, AdTrader had earned a total of
 9   $155,299.63 in revenue from Dubizzle, $42,628.51 in revenue from Dir, and $20,313.79 in
10   revenue from Investor. Continuing these relationships would have been worth millions of dollars
11   in annual revenue for AdTrader, as these clients had been steadily growing their relationships
12   with AdTrader, and in Dubizzle’s case, had been steadily growing its business operations around
13   the world.
14           147.    Google’s actions towards AdTrader reflect that it acted with malice, oppression, or
15   fraud toward AdTrader. Google’s aforementioned conduct, including its refusal to substantively
16   communicate with AdTrader regarding the supposed reasons for terminating AdTrader’s account
17   and withholding its accrued AdX earnings, reflects Google’s intent to inflict a financially
18   crippling injury upon AdTrader. Google also engaged in fraudulent conduct when Mr. Nakache
19   misrepresented to AdTrader that its appeal was futile because Google was already refunding all of
20   AdTrader’s accrued earnings back to Google’s advertisers.
21                                   FOURTH CAUSE OF ACTION:
                                          Declaratory Relief
22                                    by AdTrader against Google
                                          (Individual Claim)
23
             148.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
24
     fully set forth herein.
25
             149.    The AdX Publisher Agreement includes a Limitation of Liability provision that
26
     exempts Google from liability for any “lost revenues or indirect, special, incidental,
27
     consequential, exemplary, or punitive damages[.]” The Limitation of Liability also states that
28
                                                                            SECOND AMENDED COMPLAINT
                                                     - 33 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 37 of 62



 1   liability is limited to no more “than the net amount that [Google] has received and retained under
 2   this Agreement during the 12 months before the claim arises.”
 3          150.    Google has invoked this Limitation of Liability clause in other lawsuits brought by
 4   AdSense or AdX publishers to try to avoid liability. AdTrader expects that Google will invoke
 5   that provision in this lawsuit as well.
 6          151.    AdTrader seeks a declaration that this Limitation of Liability clause is
 7   unenforceable under principles of California contract law with respect to any tort claims brought
 8   by an AdX publisher against Google.
 9          152.    AdTrader also seeks a declaration that this Limitation of Liability clause is
10   substantively and procedurally unconscionable and therefore unenforceable under principles of
11   California contract law.
12          153.    The Limitation of Liability clause is substantively unconscionable because it is
13   transparently one-sided in favor of Google. There are no instances in which an AdX publisher
14   could engage in conduct that could cause “consequential, special, indirect, exemplary or punitive”
15   damages to Google. Indeed, Google has never even brought a claim or lawsuit against an AdX
16   publisher that could have resulted in consequential, special, indirect, exemplary or punitive
17   damages. Nor has Google ever experienced a material loss in revenue from advertisers as a result
18   of an ad running on a publisher webpage that contained material thought by some to be
19   inappropriate or offensive. These terms therefore operate only for Google’s benefit and to the
20   detriment of AdX publishers.
21          154.    If there were any means by which an AdX publisher’s conduct could conceivably
22   cause more-than-compensatory damages to Google, Google has expressly exempted such
23   examples from the Limitation of Liability clause. For example, the AdX Publisher Agreement
24   explicitly excludes from the Limitations of Liability clause “breaches of confidentiality
25   obligations contained in this Agreement, violations of a party’s Intellectual Property Rights by the
26   other party, or indemnification obligations contained in this Agreement[.]” Each of the examples
27   inures solely to the benefit of Google. No publisher could possibly disclose confidential
28   information to Google (as their entire business model is to publish content on the Internet),
                                                                           SECOND AMENDED COMPLAINT
                                                    - 34 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 38 of 62



 1   whereas Google regards even their most banal internal e-mails to be confidential (as evidenced by
 2   the fact that in every lawsuit it is involved in, Google marks almost all of its internal documents
 3   to be “Confidential” or “Attorney’s Eyes Only” regardless of the actual content of those
 4   documents). Similarly, Google cannot conceivably violate any publisher’s intellectual property
 5   rights when Google considers the various AdX platforms and their interfaces its proprietary
 6   intellectual property.
 7           155.    The examples of indemnification provided in the agreement also make it clear that
 8   there is no likely scenario where a publisher could require Google to provide indemnification
 9   from a third-party lawsuit. Thus, the Limitations of Liability are authored to give off the illusion
10   of bilateralism, but in substance operate solely to prevent publishers from recovering their
11   damages due to Google’s wrongful conduct.
12           156.    The Limitation of Liability clause is procedurally unconscionable for many
13   reasons, including that it is presented as a take-it-or-leave it provision to AdX publishers. And
14   given that Google has a virtual monopoly in the field of online advertising, anyone who wishes to
15   monetize their websites through advertising has to use AdX (or AdSense, which has a virtually
16   identical Limitation of Liability clause).
17                              PLAINTIFFS’ CLASS ACTION CLAIMS
18                                   FIFTH CAUSE OF ACTION:
                        Breach of Contract (DoubleClick Ad Exchange Agreement,
19                            DBM Agreement, and AdWords Agreement)
                                       by Plaintiffs against Google
20                                        (Class Action Claim)
21           157.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
22   fully set forth herein.
23           158.    AdTrader, Classic, LML, Ad Crunch, and Fresh Break (collectively,
24   “ADTRADER+”) bring this claim for breach of the DoubleClick Ad Exchange Agreement on
25   behalf of themselves and all members of the AdX Advertiser Class.
26           159.    Plaintiffs bring this claim for breaches of the AdWords Agreement on behalf of
27   themselves and all members of the AdWords Advertiser Class.
28
                                                                            SECOND AMENDED COMPLAINT
                                                     - 35 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 39 of 62



 1            160.   AdTrader and the other members of the AdX Advertiser Class entered into the
 2   DoubleClick Ad Exchange Agreement.
 3            161.   AdTrader and SCB entered into the AdWords Agreement.
 4            162.   Classic, LML, Ad Crunch, and Fresh Break were third-party beneficiaries of the
 5   DoubleClick Ad Exchange Agreement and the AdWords Agreement entered into by AdTrader.
 6   As previously alleged in greater detail, Google is aware that advertising agencies and advertising
 7   networks like AdTrader buy ad space on behalf of their advertising clients. Furthermore, Google
 8   knows exactly who all of AdTrader’s advertising clients are, because AdTrader is required to
 9   separately register them with Google. When Google issues invoices to AdTrader, each of
10   AdTrader’s advertising clients are identified by name and a unique ID number.
11            163.   ADTRADER+, and the other members of the AdX Advertiser Class, substantially
12   performed their obligations under the DoubleClick Ad Exchange Agreement. The key
13   requirements of that contract were that they (i) provide advertisements that complied with
14   Google’s policies and regulations and (ii) pay Google in a timely fashion after Google invoiced
15   them for its services. ADTRADER+, and the other members of the Advertiser Class, met both of
16   these obligations at all times.
17            164.   Plaintiffs, and the other members of the AdWords Advertiser Class, substantially
18   performed their obligations under the AdWords Agreement. The key requirements of that
19   contract were that they (i) provide advertisements that complied with Google’s policies and
20   regulations and (ii) pay Google in a timely fashion after Google invoiced them for its services.
21   Plaintiffs, and the other members of the Advertiser Class, met both of these obligations at all
22   times.
23            165.   Section 6 of the DoubleClick Ad Exchange Agreement (Exhibit 2) states that the
24   “charges” that an advertiser pays to Google (in connection with AdX) are “solely based on
25   Google’s measurements” regarding that advertiser’s ad buys and “the applicable billing metrics
26   (e.g., clicks or impressions)[.]” ADTRADER+, and the other members of the AdX Advertiser
27   Class, understood that Google’s “measurements” and “applicable billings metrics” would not
28   include clicks or impressions that Google determined to be invalid. After all, no reasonable
                                                                           SECOND AMENDED COMPLAINT
                                                    - 36 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 40 of 62



 1   advertiser would agree to pay Google for clicks or impressions that Google determined to be
 2   invalid. ADTRADER+ understood that under Section 6, if Google initially charged them for
 3   invalid clicks or impressions, then Google would provide a refund or credit if it subsequently
 4   determined that they were invalid.
 5          166.    Section 7 of the AdWords Agreement (Exhibit 4) states that the “charges” that an
 6   advertiser pays to Google (in connection with AdWords) is “solely based on Google’s
 7   measurements” regarding that advertiser’s ad buys and “and the applicable billing metrics (e.g.,
 8   clicks or impressions)[.]” Plaintiffs, and the other members of the AdWords Advertiser Class
 9   understood that Google’s “measurements” and “applicable billings metrics” would not include
10   clicks or impressions that Google determined to be invalid. After all, no reasonable advertiser
11   would agree to pay Google for clicks or impressions that Google determined to be invalid.
12   Plaintiffs understood that under Section 7, if Google initially charged them for those
13   clicks/impressions, then Google would provide a refund or credit if it subsequently determined
14   that the click/impression was invalid.
15          167.    Plaintiffs’ understanding that Section 6 of the DoubleClick Ad Exchange
16   Agreement and Section 7 of the AdWords Agreement (collectively, the “Refund Clauses”)
17   embodies Google’s promise to provide them with refunds or credits if it subsequently determined
18   that any clicks or impressions they had already paid for were invalid, is based in part on oral
19   statements made by Google’s employees to AdTrader’s employees. From 2014 through early
20   2016 (before AdTrader signed the DoubleClick Ad Exchange Agreement), AdTrader’s Google
21   account managers (Marta Madarasz, Alexandru Badinici, and Balint Torok) repeatedly told
22   AdTrader employees during phone conversations that AdTrader needed to ensure that its
23   publisher clients were not delivering invalid traffic because, under those circumstances, Google
24   would not pay AdTrader its accrued earnings and, more importantly, would refund those amounts
25   back to the advertisers. From these conversations, Google conveyed to AdTrader’s employees
26   that Google was contractually obligated to refund its advertisers for any clicks or impressions that
27   were charged but turned out to be invalid.
28
                                                                           SECOND AMENDED COMPLAINT
                                                    - 37 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 41 of 62



 1          168.    Moreover, following their conversations with Ms. Madarasz, Ms. Badinici, and
 2   Mr. Torok, AdTrader employees periodically reviewed Google’s statements on its DoubleClick
 3   Ad Exchange Seller Help webpage (Exhibit 5). On this webpage, which Google had authored
 4   before the start of the Class Period (and which is still being published by Google to this very day),
 5   Google wrote “Publishers disabled for invalid activity may not receive any further payment. The
 6   earnings on your account will be properly returned to the affected advertisers.” (Exhibit 5
 7   (emphasis added).) As the title of the webpage suggests, Google wrote it to answer commonly
 8   asked questions by participants on AdX. Plaintiffs understood this webpage to apply to any
 9   advertiser buying ad space on an AdX publisher’s website, and this webpage confirmed what
10   Google orally conveyed to AdTrader – i.e., that Google was contractually obligated to refund its
11   advertisers for any clicks or impressions that were charged but turned out to be invalid.
12          169.    Plaintiffs’ understanding of the meaning of the Refund Clauses is further
13   supported by another posting on Google Ads Traffic Quality site that was authored before the
14   start of the Class Period (and which is still being published by Google to this very day). There,
15   Google wrote, “When we find something wrong, we try to make it right as soon as possible. We
16   suspend or disable invalid accounts, and may withhold payments to the publisher. When
17   appropriate and possible, that money is credited back to the advertisers – not only for the
18   month where we found the invalid activity, but often for the previous month as well.” (Exhibit 6
19   (emphasis added).)
20          170.    Google has repeatedly informed advertisers and potential advertisers that the
21   Google Ads Traffic Quality webpages are an authoritative source of its policies and positions
22   regarding invalid activity on Google’s advertising platforms (including AdX). Indeed, some of
23   the content in these webpages expressly references AdX, making it clear that the Google Ads
24   Traffic Quality webpages fully apply to AdX. And Google’s representatives specifically referred
25   AdTrader during in-person conversations and telephone calls to review the Google Ads Traffic
26   Quality webpages in response to some of AdTrader’s questions about making ad buys on AdX.
27   Certainly, Plaintiffs understood this webpage to apply to any advertiser buying ad space on an
28   AdX publisher’s website.
                                                                           SECOND AMENDED COMPLAINT
                                                    - 38 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 42 of 62



 1          171.    Plaintiffs’ understanding of the meaning of the Refund Clauses is further
 2   supported by a different Google Ads Traffic Quality webpage that Google authored before the
 3   start of the Class Period (and which is still being published by Google to this very day). There,
 4   Google represented to its advertisers that “[w]hen invalid activity is found through offline
 5   analysis and reactive investigation, we mark those clicks as invalid and issue credits to any
 6   advertisers affected by this activity.” (Ex. 7 (emphasis added).) As with all of Google’s Ads
 7   Traffic Quality webpages, Plaintiffs understood this webpage to apply to any advertiser buying ad
 8   space on an AdX publisher’s website.
 9          172.    On that same webpage, Google also explained that “offline analysis” was a
10   detection scheme based upon automated algorithms and manual analysis that affected all Google
11   sites and even those in other networks. Google further explained that “offline analysis” would
12   take place after a different process called “proactive filters,” which involved automated
13   algorithms that filtered and discarded out invalid clicks/impressions in real time, before those
14   clicks/impressions were charged to an advertiser’s account. Finally, Google represented that the
15   final process it used to detect invalid ad clicks/impressions came about through “reactive
16   investigations” – which was essentially a manual review performed in response to an advertiser
17   inquiry about invalid clicks/impressions.
18          173.    Thus, with respect to “offline analysis,” Plaintiffs understood that even after
19   Google charged an AdX ad click/impression to either their AdX Buyer, DBM, or AdWords
20   account and presented an invoice for the same, Google was still automatically using various
21   procedures to detect whether that ad click/impression was valid and authentic. And if Google
22   determined that the ad click/impression was invalid, then Google would proactively provide a
23   refund or credit to Plaintiffs since Google had already charged Plaintiffs for that click/impression.
24   By contrast, the “proactive filtering” process was a way to prevent charging the advertiser for an
25   invalid ad click/impressions in the first place. And the “reactive investigation” pertained to an
26   advertiser’s right to raise its own challenge to Google regarding the validity of an ad
27   click/impression for which Google charged it.
28
                                                                           SECOND AMENDED COMPLAINT
                                                     - 39 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 43 of 62



 1           174.    Plaintiffs’ understanding of the meaning of the Refund Clauses is further
 2   supported by an AdWords Help article that Google authored before the start of the Class Period
 3   (and which is still being published by Google to this very day). There, Google states that, with
 4   respect to “invalid activity,” that it “prohibit[s] this kind of bad behavior. And that’s why you
 5   don’t have to pay for these unfair clicks and impressions.” (Ex. 8 (emphasis added). Again,
 6   the default setting in AdWords is to have the advertisements appear on AdX publisher websites,
 7   so Plaintiffs understood that these statements applied with respect to AdWords ads that ended up
 8   being displayed on an AdX publisher’s website.
 9           175.    Plaintiffs’ understanding of the meaning of the Refund Clauses is further
10   supported by an Inside AdWords blog post that Google authored before the start of the Class
11   Period (and which is still being published by Google to this very day). There, Google states “our
12   team proactively identifies invalid activity that may not have been automatically filtered
13   and credits advertisers accordingly…. In the interest of transparency, all credits, past and
14   future, for future invalid click activity are now labeled ‘Adjustment – Click Quality.’” A true and
15   correct copy of this webpage is attached as Exhibit 9. Again, the default setting in AdWords is to
16   have the advertisements appear on AdX publisher websites, so Plaintiffs understood that these
17   statements applied with respect to AdWords ads that ended up being displayed on an AdX
18   publisher’s website.
19           176.    Furthermore, Google’s own conduct demonstrates that it too shares the
20   understanding that, per the Refund Clauses, Google is obligated to provide its advertisers with
21   refunds or credits for paid-for AdX impressions or clicks when Google subsequently determines
22   that those impressions or clicks were invalid. For example, Google’s termination notices to AdX
23   publishers are based on an auto-generated template. As part of that template, Google tells all
24   terminated AdX publishers, in addition to withholding payment of their accrued AdX earnings,
25   that “[t]he earnings on [their] account will be returned to the affected advertisers.”
26           177.    In addition, as previously alleged in greater detail, Google issued an official
27   statement to The Register admitting that “Google has a longstanding policy of refunding
28   advertisers for invalid traffic.”
                                                                            SECOND AMENDED COMPLAINT
                                                     - 40 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 44 of 62



 1           178.   As previously alleged in greater detail, Google breached its obligations to
 2   ADTRADER+, and the other members of the AdX Advertiser Class under Section 6 of the
 3   DoubleClick Ad Exchange Agreement, by failing to provide them refunds or credits for amounts
 4   they paid Google for clicks or impressions on an AdX publisher’s website that Google
 5   subsequently flagged as invalid. Google failed to provide refunds or credits in these situations
 6   even when Google simultaneously refused to pay its AdX publishers for those same impressions
 7   or clicks.
 8           179.   As previously alleged in greater detail, Google breached its obligations to
 9   Plaintiffs, and the other members of the AdWords Advertiser Class under Section 7 of the
10   AdWords Agreement, by failing to provide them refunds or credits for amounts they paid Google
11   for clicks or impressions on an AdX publisher’s website that Google subsequently flagged as
12   invalid. Google failed to provide refunds or credits in these situations even when Google
13   simultaneously refused to pay its AdX publishers for those same impressions or clicks.
14           180.   As a proximate result of Google’s breaches of the contracts, Plaintiffs, and the
15   other members of the AdX Advertiser Class and the AdWords Advertiser Class, have been
16   damaged by not receiving the refunds or credits owed to them by Google.
17           181.   ADTRADER+ also brings this claim for breach of the DBM Agreement on behalf
18   of themselves and all members of the DBM Advertiser Class.
19           182.   AdTrader and the other members of the DBM Advertiser Class, entered into the
20   DBM Agreement.
21           183.   Classic, LML, Ad Crunch, and Fresh Break were third-party beneficiaries of the
22   DBM Agreement entered into by AdTrader. As previously alleged in greater detail, Google is
23   aware that advertising agencies and advertising networks like AdTrader buy ad space on behalf of
24   their advertising clients. Furthermore, Google knows exactly who all of AdTrader’s advertising
25   clients are, because AdTrader is required to separately register them in DBM. When Google
26   issues DBM invoices, each of AdTrader’s advertising clients are identified by name and a unique
27   ID number.
28
                                                                          SECOND AMENDED COMPLAINT
                                                    - 41 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 45 of 62



 1          184.    ADTRADER+, and the other members of the DBM Advertiser Class, substantially
 2   performed their obligations under the DBM Agreement. The key requirements of that contract
 3   were that ADTRADER+, and the other members of the DBM Sub-Class, (i) provide
 4   advertisements that complied with Google’s policies and regulations and (ii) pay Google in a
 5   timely fashion after Google invoiced them for its services. ADTRADER+, and the other
 6   members of the DBM Advertiser Class, met both of these obligations at all times.
 7          185.    Section 2(a) of the DBM Agreement (Exhibit 3) states that Google will “deliver
 8   Ads according to the trafficking criteria selected by the Company,” in exchange for advertisers’
 9   payments to Google under Section 3. ADTRADER+ and the other members of the DBM
10   Advertiser Class understood that the “trafficking criteria” they selected would not include clicks
11   or impressions that Google determined to be invalid. After all, no reasonable advertiser would
12   agree to pay Google for clicks or impressions that Google determined to be invalid. And
13   ADTRADER+ understood that if Google initially charged them for invalid clicks or impressions,
14   then Google would provide a refund or credit if it subsequently determined that they were invalid.
15          186.    Importantly, the language used in Section 2(a) of the DBM Agreement is
16   intentionally broader than the language used in the DoubleClick Ad Exchange Agreement and the
17   AdWords Agreement. Part of that appears to be a legacy holdover from when DoubleClick was
18   an independent company based in New York. But part of that is because a DSP (such as DBM) is
19   broader in scope than an advertising exchange like AdX. DBM, like all DSPs, processes bids for
20   ad buys across multiple advertising exchanges (not just AdX). Thus, ADTRADER+ understood
21   and expected that Google would provide refunds or credits for invalid traffic not just when that
22   traffic originated from an AdSense publisher or an AdX publisher’s website (which Google
23   obviously controls), but also when that invalid traffic originated from a publisher that is
24   participating in a different advertising exchange where DBM buys from.
25          187.    ADTRADER+’s understanding of Section 2(a) is based in part on norms and
26   standards in the digital advertising industry. Other major DSPs, such as DataXu, AppNexus, and
27   OpenX, were (as of March 1, 2016) all providing refunds to advertisers for ad traffic that turned
28   out to be fraudulent or otherwise invalid regardless of whether such traffic originated on an
                                                                            SECOND AMENDED COMPLAINT
                                                     - 42 -                     CASE NO. 5:17-CV-7082-BLF
         Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 46 of 62



 1   advertising exchange affiliated with them. For example, DataXu alone has been providing such
 2   refunds since 2014 and it does not even operate an affiliated advertising exchange.
 3           188.   DSPs have the ability to detect invalid or fraudulent traffic across all advertising
 4   exchanges because all, or almost all of them, are integrated with third party verification services
 5   such as DoubleVerify, Integral Ad Science, Meetrics, and MOAT. And on information and
 6   belief, Google has long used its own proprietary verification algorithms to detect invalid or
 7   fraudulent traffic originating on its own and other advertising exchanges.
 8           189.   Moreover, as previously alleged in greater detail, Google’s representations in
 9   Exhibits 5-7 also gave ADTRADER+ the understanding that Section 2(a) of the DBM Agreement
10   obligated Google to provide refunds for paid-for impressions or clicks bought on a publisher’s
11   website when Google subsequently determines that those impressions or clicks were invalid. As
12   previously alleged in greater detail, Google’s website does not draw distinctions between any of
13   its various advertising services, and Google refers all potential advertisers to review its various
14   webpages.
15           190.   As previously alleged in greater detail, Google breached its obligations to
16   Plaintiffs, and the other members of the DBM Advertiser Class under Section 2(a) of the DBM
17   Agreement, by failing to provide them refunds or credits for their advertising funds that had been
18   spent on clicks or impressions bought using DBM that Google subsequently flagged as invalid.
19   Google failed to provide refunds or credits in these situations even when Google simultaneously
20   refused to pay those publishers for those same impressions or clicks.
21           191.   ADTRADER+ also brings this claim for breach of the DBM Agreement and the
22   DoubleClick Ad Exchange Agreement on behalf of themselves and all members of the DBM-
23   AdX Sub-Class.6
24           192.   As previously alleged in greater detail, a media buyer could not use DBM to make
25   an ad buy on AdX unless that buyer had already executed the DoubleClick Ad Exchange
26
     6
       Plaintiffs presents all the different classes and the sub-class largely for administrative
27   convenience, because Google generates separate invoices for each of its different products – AdX
     Buyer, DBM, and AdWords. For example, an ad buy made on an AdX publisher’s website
28   through DBM would be reflected only in the DBM invoice, not in an AdX Buyer invoice.
                                                                             SECOND AMENDED COMPLAINT
                                                     - 43 -                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 47 of 62



 1   Agreement. Therefore, all members of the DBM-AdX Sub-Class are, by necessity, signatories of
 2   both the DBM Agreement and the DoubleClick Ad Exchange Agreement.
 3          193.    If it is determined that the DBM Agreement does not grant ADTRADER+ and the
 4   other members of the DBM Advertiser Class a contractual right to a refund under the
 5   circumstances described at length in this pleading, pursuant to Section 6 of the DoubleClick Ad
 6   Exchange Agreement, the members of the DBM-AdX Sub-Class are nonetheless entitled to a
 7   refund for amounts they paid Google for clicks or impressions on an AdX publisher’s website that
 8   Google subsequently flagged as invalid.
 9          194.    As previously alleged in greater detail, Google breached its obligations to
10   AdTrader, and the other members of the DBM-AdX Sub-Class by failing to provide them refunds
11   or credits for their advertising funds that had been spent on clicks or impressions bought using
12   DBM that Google subsequently flagged as invalid. Google failed to provide refunds or credits in
13   these situations even when Google simultaneously refused to pay those publishers for those same
14   impressions or clicks.
15          195.    Furthermore, to the extent that the DoubleClick Ad Exchange Agreement, the
16   DBM Agreement, or the AdWords Agreement permit Google to retain advertiser funds resulting
17   from ad impressions or clicks that Google subsequently determined were invalid, then Google
18   freely and knowingly waived any such right to keep those funds by publishing (and continuing to
19   publish) its statements that it proactively provides refunds or credits to advertisers for invalid
20   activity as previously discussed in greater detail in Exhibits 5-9.
21          196.    Google has contended that Section 6 of the DoubleClick Ad Exchange Agreement
22   (Exhibit 2) and Section 7 of the AdWords Agreement (Exhibit 4) limit or preclude Plaintiffs’
23   breach of contract claim here. The relevant sections both state:
24          If Google does not deliver Ads to the selected Targets, then Customer’s sole
            remedy is to make a claim for advertising credits within 60 days after the invoice
25          date (“Claim Period”), after which Google will issue the credits following claim
            validation[.] Customer understands that third parties may generate impressions or
26          clicks on Customer’s Ads for prohibited or improper purposes and that its sole
            remedy is to make a claim for advertising credits within the Claim Period, after
27          which Google will issue the credits following claim validation. TO THE
            FULLEST EXTENT PERMITTED BY LAW, (A) CUSTOMER WAIVES ALL
28          CLAIMS RELATING TO ANY PROGRAM CHARGES UNLESS A CLAIM IS
                                                                             SECOND AMENDED COMPLAINT
                                                      - 44 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 48 of 62


            MADE WITHIN THE CLAIM PERIOD AND (B) THE ISSUANCE OF
 1          ADVERTISING CREDITS (IF ANY) IS AT GOOGLE'S REASONABLE
            DISCRETION.
 2
 3          197.    The DBM Agreement lacks any such language. Moreover, Google’s reading of
 4   Section 6 of the DoubleClick Ad Exchange Agreement and Section 7 of the AdWords Agreement
 5   is not correct, because it is clear that the language of both sections refers only to “reactive
 6   investigations.” As previously alleged in greater detail, Google explained in Exhibit 7 that
 7   “reactive investigations” refers to a review of the validity of ad impressions performed by Google
 8   in response to an advertiser inquiry. Thus, Plaintiffs, and the other members of the Advertiser
 9   Class, understood that these two sections to govern only situations where the advertiser suspected
10   its impressions were invalid, thereby putting the onus on the advertiser to raise the claim with
11   Google within the allotted time. Plaintiffs, and the other members of the AdX Advertiser Class,
12   the AdWords Advertiser Class, and the DBM-AdX Sub-Class, did not understand these sections
13   to refer to Google’s obligation to proactively provide refunds or credits to them for ad
14   impressions that Google independently determined on its own accord were invalid (i.e., through
15   “offline analysis”).
16          198.    Indeed, Plaintiffs, like all online advertisers, knew there was always some risk that
17   their advertisements could be the subject of a fraudulent click or impression. Section 6 of the
18   DoubleClick Ad Exchange Agreement and Section 7 of the AdWords Agreement merely
19   minimize Google’s liability in the event it does not detect third-party fraud, as it is likely
20   impossible to detect all cases of third-party fraud. What these contractual provisions do not do,
21   however, is permit Google’s first-party fraud – that is, when Google itself claims or determines
22   there was invalid activity, refuses to pay the publisher for that invalid activity, and then keeps the
23   money for itself instead of returning it to the advertiser, as promised.
24          199.    More importantly, even if Google’s reading of Section 6 of the DoubleClick Ad
25   Exchange Agreement or Section 7 of the AdWords Agreement were correct, it has nevertheless
26   freely and knowingly waived the right to enforce those sections by publishing (and continuing to
27   publish) its statements that it proactively provides refunds or credits to advertisers for invalid
28   activity as previously alleged in greater detail in Exhibits 5-9.
                                                                             SECOND AMENDED COMPLAINT
                                                      - 45 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 49 of 62



 1           200.    Furthermore, by repeatedly telling Plaintiffs and the other members of the AdX
 2   Advertiser Class, the AdWords Advertiser Class, and the DBM-AdX Sub-Class that Google
 3   would automatically provide refunds or credits to them for ad impressions that Google
 4   independently determined were invalid, and by having Plaintiffs and the other members of those
 5   classes make ad buys on AdX in reliance on those statements, Google is now estopped from
 6   arguing that either Section 6 of the DoubleClick Ad Exchange Agreement or Section 7 of the
 7   AdWords Agreement eliminates its liability to Plaintiffs and the other members of those classes
 8   for having failed to raise a claim within the requisite claims period.
 9                                SIXTH CAUSE OF ACTION:
     Breach of the Implied Covenant of Good Faith and Fair Dealing (DoubleClick Ad Exchange
10                   Agreement, DBM Agreement, and AdWords Agreement)
                                   by Plaintiffs against Google
11                                     (Class Action Claim)
12           201.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
13   fully set forth herein. Plaintiffs plead this claim in the alternative in the event it is determined that
14   under the DoubleClick Ad Exchange Agreement, the DBM Agreement, or the AdWords
15   Agreement, Google’s obligation to provide refunds or credits to advertisers under the previously-
16   described circumstances is a matter of Google’s subjective discretion.
17           202.    As previously alleged in great detail, Plaintiffs, and the other members of the AdX
18   Advertiser Class, the AdWords Advertiser Class, the DBM Advertiser Class, and the DBM-AdX
19   Sub-Class, entered into the DoubleClick Ad Exchange Agreement, the DBM Agreement, and/or
20   the AdWords Agreement (or were third-party beneficiaries of those contracts), and substantially
21   performed under these contracts.
22           203.    There exists in every contract, including the DoubleClick Ad Exchange
23   Agreement, the DBM Agreement, and the AdWords Agreement, an implied covenant of good
24   faith and fair dealing, requiring that each party not do anything to unfairly interfere with the right
25   of the other party to receive the benefits of the contract.
26           204.    Plaintiffs’ purpose for entering into the DoubleClick Ad Exchange Agreement, the
27   DBM Agreement, and/or the AdWords Agreement was to maximize the success of their
28   advertising campaigns and thus pay Google only for advertisements that it had delivered to valid
                                                                              SECOND AMENDED COMPLAINT
                                                      - 46 -                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 50 of 62



 1   traffic (and correspondingly not pay Google for advertisements that Google knew or claimed was
 2   delivered to invalid traffic).
 3           205.    Google unfairly interfered with ADTRADER+ and the other members of the AdX
 4   Advertiser Class’s right to receive the benefits of the DoubleClick Ad Exchange Agreement by
 5   failing to provide refunds or credits to them for ad impressions and clicks that Google itself
 6   claimed or determined were invalid and/or for which Google withheld payment to AdX
 7   publishers.
 8           206.    Google unfairly interfered with Plaintiffs and the other members of the AdWords
 9   Advertiser Class’s right to receive the benefits of the AdWords Agreement by failing to provide
10   refunds or credits to them for ad impressions and clicks that Google itself claimed or determined
11   were invalid and/or for which Google withheld payment to AdX publishers.
12           207.    Google unfairly interfered with ADTRADER+ and the other members of the DBM
13   Advertiser Class’s right to receive the benefits of the DBM Agreement by failing to provide
14   refunds or credits to them for ad impressions and clicks for which Google withheld payment to
15   publishers.
16           208.    Google unfairly interfered with ADTRADER+ and the other members of the
17   DBM-AdX Advertiser Class’s right to receive the benefits of the DoubleClick Ad Exchange
18   Agreement by failing to provide refunds or credits to them for ad impressions and clicks that
19   Google itself claimed or determined were invalid and/or for which Google withheld payment to
20   AdX publishers.
21           209.    As a proximate result of Google’s breaches of the implied covenant, Plaintiffs and
22   the other members of the AdX Advertiser Class, the AdWords Advertiser Class, the DBM
23   Advertiser Class, and the DBM-AdX Sub-class have been damaged by not receiving the refunds
24   or credits owed to them by Google.
25
26
27
28
                                                                           SECOND AMENDED COMPLAINT
                                                    - 47 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 51 of 62


                                 SEVENTH CAUSE OF ACTION:
 1                    Breach of Implied Duty to Perform with Reasonable Care
                   (DoubleClick Ad Exchange Agreement and AdWords Agreement)
 2                                  by Plaintiffs against Google
                                        (Class Action Claim)
 3
 4          210.    Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
 5   fully set forth herein. Plaintiffs bring this claim solely to recover contract damages and not tort
 6   damages.
 7          211.    As previously alleged in greater detail, Plaintiffs and the other members of the
 8   AdX Advertiser Class, the AdWords Advertiser Class, and the DBM-AdX Sub-Class entered into
 9   the DoubleClick Ad Exchange Agreement, and/or the AdWords Agreement (or were third-party
10   beneficiaries to those contracts), and substantially performed under these contracts.
11          212.    As previously alleged in greater detail, under Section 6 of the DoubleClick Ad
12   Exchange Agreement, the amounts owed by Plaintiffs and the other members of the Advertiser
13   Class to Google for their ad buys were based on Google’s “measurements for the Programs and
14   the applicable billing metrics (e.g., clicks or impressions)[.]” Accordingly, every single month
15   from the time the parties entered into the DoubleClick Ad Exchange Agreement, whenever
16   Google presented to ADTRADER+ and the other members of the AdX Advertiser Class and the
17   members of the DBM-AdX Sub-Class its invoice for the amounts owed by them for their ad buys
18   made on AdX, Google also provided them various advertising metrics ostensibly meant to
19   validate Google’s “measurements” for the parties’ “applicable billing metrics.” These metrics are
20   also meant to enable advertisers to exercise their contractual right under Section 6 to request a
21   “reactive investigation” of the impressions/clicks for which Google billed them.
22          213.    Google provides these metrics in various forms and the advertiser has the option of
23   viewing these metrics at varying levels of granularity. At the most basic level of detail, every
24   single month from the time the parties entered into the DoubleClick Ad Exchange Agreement,
25   Google provided ADTRADER+ and the other members of the AdX Advertiser Class and the
26   DBM-AdX Sub-Class with advertising metrics showing the total number of valid, billable
27   impressions that their advertisements received on AdX publisher websites. These metrics remain
28
                                                                            SECOND AMENDED COMPLAINT
                                                     - 48 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 52 of 62



 1   accessible to Plaintiffs and other members of the AdX Advertiser Class and the DBM-AdX Sub-
 2   Class on their Google-provided software dashboard interface at all times.
 3           214.    As previously alleged in greater detail, under Section 7 of the AdWords
 4   Agreement, the amounts owed by Plaintiffs and the other members of the AdWords Advertiser
 5   Class to Google for their ad buys were based on Google’s “measurements for the Programs and
 6   the applicable billing metrics (e.g., clicks or impressions)[.]” Accordingly, every single month
 7   from the time the parties entered into the AdWords Agreement, whenever Google presented to
 8   Plaintiffs and the other members of the AdWords Advertiser Class its invoice for the amounts
 9   owed by them for their ad buys (including for AdWords ads that ended up being displayed on an
10   AdX publisher’s website), Google also provided them various advertising metrics ostensibly
11   meant to validate Google’s “measurements” for the parties’ “applicable billing metrics.” These
12   metrics are also meant to enable advertisers to exercise their contractual right under Section 7 to
13   request a “reactive investigation” of the impressions/clicks for which Google billed them.
14           215.    Google provides these metrics in various forms and the advertiser has the option of
15   viewing these metrics at varying level of granularity. At the most basic level of detail, every
16   single month from the time the parties entered into the AdWords Agreement, Google provided
17   Plaintiffs and the other members of the AdWords Advertiser Class with advertising metrics
18   showing the total number of valid, billable impressions that their AdWords advertisements
19   received on AdX publishers’ websites). These metrics remain accessible to Plaintiffs and other
20   members of the AdWords Advertiser Class on their Google-provided software dashboard
21   interface at all times.
22           216.    Google failed to use reasonable care in performing its contractual obligation to
23   provide Plaintiffs and the other members of the AdX Advertiser Class and the DBM-AdX Sub-
24   Class with advertising metrics. Specifically, Google subsequently became aware that the
25   advertising metrics that Google provided to Plaintiffs and the other members of the AdX
26   Advertiser Class and the DBM-AdX Sub-Class incorrectly showed that Google was deeming all
27   of the reported AdX impressions or clicks to be valid when, in reality, Google had later
28   determined some of those impressions or clicks to be invalid. Google did not, however, correct
                                                                           SECOND AMENDED COMPLAINT
                                                     - 49 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 53 of 62



 1   those erroneous metrics, or send out any kind of corrective disclosure to Plaintiffs and the other
 2   members of the AdX Advertiser Class and the DBM-AdX Sub-Class.
 3            217.   Google failed to use reasonable care in performing its contractual obligation to
 4   provide Plaintiffs and the other members of the AdWords Advertiser Class with advertising
 5   metrics. Specifically, Google subsequently became aware that the advertising metrics that
 6   Google provided to Plaintiffs and the other members of the AdWords Advertiser Class incorrectly
 7   showed that Google was deeming all of the reported AdX impressions or clicks to be valid when,
 8   in reality, Google had later determined some of those impressions or clicks to be invalid. Google
 9   did not, however, correct those erroneous metrics, or send out any kind of corrective disclosure to
10   Plaintiffs and the other members of the AdWords Advertiser Class.
11            218.   Plaintiffs and the other members of the AdX Advertiser Class, the AdWords
12   Advertiser Class, and the DBM-AdX Sub-Class have been damaged by Google’s failure to
13   perform its services with reasonable care. Put simply, if Google had provided corrected metrics
14   (or even a corrective disclosure), then Plaintiffs and the other members of these classes would
15   have been alerted to the fact that ad impressions or clicks they had already paid for had been
16   subsequently determined by Google to be invalid. With this knowledge, Plaintiffs and the other
17   members of these classes would have requested Google to perform a reactive investigation of
18   those invalid impressions/clicks and would have subsequently received a refund or credit from
19   Google.
20                                    EIGHTH CAUSE OF ACTION:
                                          False Advertising Law
21                                      by Plaintiffs against Google
                                           (Class Action Claim)
22
              219.   Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
23
     fully set forth herein.
24
              220.   Plaintiffs bring this claim under California’s False Advertising Law (the “FAL”),
25
     California Business & Professions Code §§ 17500, et seq., on behalf of themselves and all
26
     members of the AdX Advertiser Class, the AdWords Advertiser Class, and the DBM-AdX Sub-
27
     Class.
28
                                                                            SECOND AMENDED COMPLAINT
                                                     - 50 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 54 of 62



 1          221.    Google offered its advertising services (i.e., AdX, AdWords, and DBM) to
 2   consumers and the public on a nationwide basis, including in California.
 3          222.    With the intent to perform those advertising services, Google made and broadly
 4   disseminated over the Internet the following untrue or misleading statements (the “Refund
 5   Promises”) to consumers and the public, including Plaintiffs:
 6                  a.      On its DoubleClick Ad Exchange Seller Help webpage (Exhibit 5), which
 7   Google authored before the start of the Class Period (and which is still being published by Google
 8   to this day), Google stated: “Publishers disabled for invalid activity may not receive any further
 9   payment. The earnings on your account will be properly returned to the affected
10   advertisers.” (Ex. 5 (emphasis added).)
11                  b.      On one of its Google Ads Traffic Quality webpages (Exhibit 6), which
12   Google authored before the start of the Class Period (and which is still being published by Google
13   to this day), Google stated: “When we find something wrong, we try to make it right as soon as
14   possible. We suspend or disable invalid accounts, and may withhold payments to the publisher.
15   When appropriate and possible, that money is credited back to the advertisers – not only for
16   the month where we found the invalid activity, but often for the previous month as well.” (Ex. 6
17   (emphasis added).)
18                  c.      In another Google Ads Traffic Quality webpage (Exhibit 7), which Google
19   authored before the start of the Class Period (and which is still being published by Google to this
20   day), Google stated: “When invalid activity is found through offline analysis and reactive
21   investigation, we mark those clicks as invalid and issue credits to any advertisers affected by
22   this activity.” (Ex. 7 (emphasis added).)
23                  d.      In an AdWords Help article (Exhibit 8), which Google authored before the
24   start of the Class Period (and which is still being published by Google to this day), Google stated
25   that, with respect to “invalid activity,” it “prohibit[s] this kind of bad behavior. And that’s why
26   you don’t have to pay for these unfair clicks and impressions.” (Ex. 8 (emphasis added).)
27                  e.      In an Inside AdWords blog post (Exhibit 9), which Google authored before
28   the start of the Class Period (and which is still being published by Google to this day), Google
                                                                           SECOND AMENDED COMPLAINT
                                                    - 51 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 55 of 62



 1   stated: “[O]ur team proactively identifies invalid activity that may not have been
 2   automatically filtered and credits advertisers accordingly.” (Ex. 9 (emphasis added).)
 3           223.    Google’s Refund Promises were untrue or misleading when made, as a reasonable
 4   consumer was likely to be misled or deceived by them. Indeed, the only reasonable interpretation
 5   of Google’s Refund Promises was that it would issue credits to advertisers when it found invalid
 6   activity. Yet, as previously alleged in greater detail, in many instances throughout the entire
 7   Class Period up until around November 2017, after Google withheld revenues from AdX
 8   publishers claiming that it found invalid activity or policy violations, Google did not return that
 9   money to affected advertisers, as promised.
10           224.    In addition, on December 13, 2017, Google gave an official statement to The
11   Register (Exhibit 10) in response to this lawsuit: “Google has a longstanding policy of refunding
12   advertisers for invalid traffic. As we recently announced, this is currently being expanded to
13   include ads purchased via DoubleClick Bid Manager.” Thus, prior to December 2017, even
14   though AdX is fully owned and operated by Google (and Google required advertisers to enter into
15   the DoubleClick Ad Exchange Agreement in order to make an ad buy on AdX), Google was not
16   providing any refunds for any ad buys that an advertiser made through DBM for an AdX
17   publisher’s inventory, even when Google subsequently determined that some of those already
18   paid-for ad impressions or clicks were invalid.
19           225.    Furthermore, as previously alleged in greater detail, Google’s conduct in
20   unilaterally imposing a retroactive arbitration clause in response to the August 25, 2017 Wall
21   Street Journal article reflects its hurried attempt to minimize liability to its advertisers after it was
22   publicly revealed that Google was not refunding its advertisers as promised. If Google had
23   legitimately understood that it had not been making any promises to provide refunds to
24   advertisers, it would not have acted in this manner.
25           226.    Plaintiffs have statutory standing to sue under the FAL because they suffered
26   injury in fact and lost money or property as a result of Google’s untrue or misleading Refund
27   Promises.
28
                                                                               SECOND AMENDED COMPLAINT
                                                       - 52 -                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 56 of 62



 1          227.    AdTrader reviewed Google’s Refund Promises on or around March 1, 2016, prior
 2   to entering into the DoubleClick Ad Exchange Agreement and the DBM Agreement. Classic,
 3   LML, Ad Crunch and Fresh Break also reviewed those same representations at that same time
 4   through their agent, AdTrader. In reliance on Google’s Refund Promises, these Plaintiffs
 5   expended money to purchase advertising through AdX and DBM that they would not have
 6   otherwise spent. That is, they would not have purchased this advertising if Google had disclosed
 7   that it would not give them refunds or credits when it found invalid activity or policy violations
 8   associated with their advertising and withheld payment to the relevant publisher on that basis.
 9   When Google failed to issue such refunds or credits as promised, Plaintiffs suffered injury in fact
10   and lost money as a result.
11          228.    SCB reviewed Google’s Refund Promises on or shortly before it entered into the
12   AdWords Agreement during the spring of 2015. In reliance on Google’s Refund Promises, SCB
13   expended money to purchase advertising through AdWords that it would not have otherwise
14   spent. That is, SCB would not have purchased this advertising if Google had disclosed that it
15   would not give SCB refunds or credits when it found invalid activity or policy violations
16   associated with SCB’s advertising and withheld payment to the relevant publisher on that basis.
17   When Google failed to issue such refunds or credits as promised, SCB suffered injury in fact and
18   lost money as a result.
19          229.    Google should have known, through the exercise of reasonable care, that the
20   Refund Promises were untrue or misleading back in 2015 and back on March 1, 2016. By then,
21   Google had fully owned, controlled, and operated each of the AdWords, AdX, and DBM software
22   for many years (with DBM being the most recent, as it was acquired by Google on June 3, 2010).
23   Having controlled these programs for all that time and having annually handled billions of dollars
24   in transactions through those programs, Google should have known that it was not providing
25   refunds (whether deliberately or inadvertently) for already paid-for ad impressions or clicks on an
26   AdX publisher’s website that Google subsequently determined to be invalid.
27          230.    Plaintiffs also bring this FAL claim in the alternative, should it be determined that,
28   pursuant to Section 6 of the DoubleClick Ad Exchange Agreement (Exhibit 2) or Section 7 of the
                                                                           SECOND AMENDED COMPLAINT
                                                    - 53 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 57 of 62



 1   AdWords Agreement (Exhibit 4), an advertiser is contractually entitled to a refund or credits for
 2   invalid traffic only if that advertiser had previously requested that Google perform a “reactive
 3   investigation” of its ad traffic.
 4           231.    As previously alleged in greater detail, in the Refund Promises, Google
 5   represented to Plaintiffs that it would proactively offer refunds or credits for already paid-for ad
 6   impressions or clicks on an AdX publisher’s website that Google subsequently determined to be
 7   invalid. Should it be determined that the DoubleClick Ad Exchange Agreement or the AdWords
 8   Agreement create no such duty whatsoever, and that an advertiser is entitled to a refund or credits
 9   for invalid traffic only if that advertiser had previously requested that Google perform a “reactive
10   investigation” of its ad traffic, then the Refund Promises were plainly misleading at the time they
11   were made to Plaintiffs in 2015 and March 1, 2016.
12           232.    Google should have known, through the exercise of reasonable care, that the
13   Refund Promises were untrue or misleading back in 2015 and back on March 1, 2016. Google
14   authored the DoubleClick Ad Exchange Agreement or the AdWords Agreement and thus was
15   fully aware as how it interpreted the provisions of those contracts, and that its interpretation was
16   at odds with what it expressed in the Refund Promises.
17           233.    Plaintiffs have suffered injury in fact as they have lost money due to Google’s
18   actions. As previously alleged in greater detail, based in large measure upon Google’s promise to
19   proactively provide refunds or credits for invalid traffic, Plaintiffs participated in AdX and paid
20   money to Google for ad impressions or clicks generated by their advertisements displayed on an
21   AdX publisher’s website. Google then failed to provide refunds or credits to Plaintiffs for those
22   ad impressions or clicks that Google subsequently determined were invalid, on the purported
23   grounds that Google was never going to do anything proactively, but that it was Plaintiffs’
24   obligation to affirmatively raise with Google a request for refunds or credits for invalid activity.
25           234.    Google’s acts and practices implicate the public in general and individual
26   consumers in that they were based on misrepresentations that were distributed widely on the
27   Internet and directed at millions of individuals and small businesses looking to engage in online
28   advertising. (Indeed, one research firm estimated in 2015 that Google had 4 million unique
                                                                            SECOND AMENDED COMPLAINT
                                                     - 54 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 58 of 62



 1   advertisers at that point.) Google’s statements misled these individuals and small businesses as to
 2   the value of advertisements they purchased through Google.
 3            235.   In addition, Google’s acts and practices have deprived its advertisers of money or
 4   credits – totaling hundreds of millions, or even billions, of dollars – that they would have spent on
 5   ads targeting end consumers interested in their products or services. Thus, the interests of
 6   individual consumers are also implicated because end consumers and Internet users were
 7   deprived of ads that cater to their interests. The decrease in advertising expenditures also, in turn,
 8   leads to a decrease in the number of publishers offering free content for consumers on the
 9   Internet.
10            236.   Plaintiffs are small businesses—not sophisticated corporate entities—and precisely
11   the type of consumers that the FAL was designed to protect. AdTrader currently has a total of 12
12   employees. Classic is a small restaurant that currently has approximately 25 employees. LML is
13   also a restaurant that employs approximately 25 people. Ad Crunch is no longer in business and
14   does not have any employees. Fresh Break is also a restaurant that currently employs between 5-
15   10 people. And SCB is a small collections agency that currently has 3 employees.
16            237.   Plaintiffs and the other members of these classes are accordingly entitled to
17   restitution and injunctive relief as a remedy for Google’s violations of the FAL.
18                                       NINTH CAUSE OF ACTION:
                                           Unfair Competition Law
19                                        by Plaintiffs against Google
                                             (Class Action Claim)
20
              238.   Plaintiffs hereby re-incorporate and re-allege all the preceding paragraphs as if
21
     fully set forth herein.
22
              239.   Plaintiffs bring this claim under California’s Unfair Competition Law (“UCL”),
23
     California Business & Professions Code §§ 17200, et seq., on behalf of themselves and all
24
     members of the AdX Advertiser Class, the AdWords Advertiser Class, and the DBM-AdX Sub-
25
     Class.
26
              240.   As previously alleged in greater detail, Plaintiffs are small businesses, not
27
     sophisticated corporate entities.
28
                                                                             SECOND AMENDED COMPLAINT
                                                     - 55 -                      CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 59 of 62



 1          241.    Google’s actions and systematic conduct towards Plaintiffs and the other members
 2   of these classes constitute unlawful business practices within the meaning of California Business
 3   & Professions Code § 17200. As previously alleged in greater detail, Google engaged in systemic
 4   breaches of the DoubleClick Ad Exchange Agreement and the AdWords Agreement, systemic
 5   breaches of the implied covenant of good faith and fair dealing arising from those contracts, and
 6   violations of the FAL.
 7          242.    Google has engaged, and continues to engage in, unlawful, fraudulent, and unfair
 8   business acts and practices prohibited by the UCL. As previously alleged in greater detail,
 9   despite promising to do so, Google repeatedly and systematically refused to provide full credits or
10   refunds to advertisers for invalid impressions or clicks on their ads, while simultaneously
11   withholding payments to the publishers who displayed those ads. Google instead simply kept all
12   of the money for itself.
13          243.    Google’s actions and systematic conduct towards Plaintiffs and the other members
14   of these classes constitute unfair business practices within the meaning of California Business &
15   Professions Code § 17200. As previously alleged in greater detail, despite promising to do so,
16   Google repeatedly and systematically refuses to provide credits or refunds to advertisers for
17   invalid impressions or clicks on their ads, while simultaneously withholding payments to the
18   publishers who displayed those ads. Google instead simply pockets the money. Such practices
19   are deemed unfair under the UCL. In addition, Google’s conduct is immoral, unethical,
20   oppressive, and unscrupulous in that Google wrongfully confiscates money that it promised to
21   return to advertisers. Google’s conduct is also deceptive, because it repeatedly represented to
22   Plaintiffs that it would proactively provide refunds or credits to them for their paid-for ad
23   impressions or clicks that Google subsequently determined were invalid. Google’s conduct is
24   also deemed unfair within the meaning of California Business & Professions Code § 17200
25   because its practices harm the public interest while creating zero utility in the process.
26          244.    Google’s actions and systematic conduct towards Plaintiffs and the other members
27   of these classes constitute fraudulent business practices within the meaning of California Business
28   & Professions Code § 17200. As previously alleged in greater detail, Google repeatedly and
                                                                            SECOND AMENDED COMPLAINT
                                                     - 56 -                     CASE NO. 5:17-CV-7082-BLF
          Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 60 of 62



 1   fraudulently represented that it would issue full refunds or credits to advertisers for impressions
 2   or clicks on their ads that were determined to be fraudulent or invalid. Google’s representations
 3   were likely to deceive a reasonable consumer. In addition, as previously alleged in greater detail,
 4   Plaintiffs actually relied on Google’s misrepresentations.
 5            245.   Plaintiffs also bring this fraudulent business practices claim in the alternative
 6   should it be determined that, pursuant to Section 6 of the DoubleClick Ad Exchange Agreement
 7   (Exhibit 2) or Section 7 of the AdWords Agreement (Exhibit 4), an advertiser is entitled to a
 8   refund or credits for invalid traffic only if that advertiser had previously requested that Google
 9   perform a “reactive investigation” of its ad traffic. As previously alleged in greater detail, Google
10   repeatedly represented to Plaintiffs it would proactively offer refunds or credits for already paid-
11   for ad impressions or clicks on an AdX publisher’s website that Google subsequently determined
12   to be invalid. In addition, as previously alleged in greater detail, Plaintiffs actually relied on
13   Google’s misrepresentations. As previously alleged in greater detail, Google’s actions also
14   constitute “unfair, deceptive, untrue, or misleading advertising” within the meaning of California
15   Business & Professions Code § 17200.
16            246.   As previously alleged in greater detail, Plaintiffs have suffered injury in fact as
17   they have lost money due to Google’s actions.
18            247.   As previously alleged in greater detail, Google’s acts and practices implicate the
19   public in general as well as individual consumers.
20            248.   Plaintiffs, and the members of these classes are accordingly entitled to restitution
21   and injunctive relief as a remedy for Google’s violations of the UCL.
22   //
23   //
24   //
25
26
27
28
                                                                             SECOND AMENDED COMPLAINT
                                                      - 57 -                     CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 61 of 62



 1                                               PRAYER
 2          WHEREFORE, Plaintiffs AdTrader, Inc., Classic and Food EOOD, LML CONSULT
 3   Ltd., Ad Crunch Ltd., Fresh Break Ltd., and Specialized Collections Bureau, Inc. pray for
 4   judgment as follows:
 5          1.     For judgment against defendant Google, LLC;
 6          2.     For compensatory and special damages;
 7          3.     For punitive damages;
 8          4.     For declaratory relief;
 9          5.     For restitution;
10          6.     For a permanent injunction;
11          7.     For pre-judgment interest;
12          8.     For attorney’s fees and costs; and
13          9.     For such other and further relief as the Court deems just and proper.
14
15           Dated: August 13, 2018                     GAW | POE LLP
16
17                                                      By:
                                                              Randolph Gaw
18                                                            Attorneys for Plaintiffs AdTrader, Inc.,
                                                              Classic and Food EOOD, LML
19                                                            CONSULT Ltd., Ad Crunch Ltd., Fresh
                                                              Break Ltd., and Specialized Collections
20                                                            Bureau, Inc.
21
22
23
24
25
26
27
28
                                                                         SECOND AMENDED COMPLAINT
                                                   - 58 -                    CASE NO. 5:17-CV-7082-BLF
      Case 5:17-cv-07082-BLF Document 72 Filed 08/27/18 Page 62 of 62



 1                                          JURY DEMAND
 2          Plaintiffs AdTrader, Inc., Classic and Food EOOD, LML CONSULT Ltd., Ad Crunch
 3   Ltd., Fresh Break Ltd., and Specialized Collections Bureau, Inc. hereby demand a jury trial for
 4   their claims against defendant Google, LLC.
 5
 6           Dated: August 13, 2018                     GAW | POE LLP
 7
 8                                                      By:
                                                               Randolph Gaw
 9                                                             Attorneys for Plaintiffs AdTrader, Inc.,
                                                               Classic and Food EOOD, LML
10                                                             CONSULT Ltd., Ad Crunch Ltd., Fresh
                                                               Break Ltd., and Specialized Collections
11                                                             Bureau, Inc.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                         SECOND AMENDED COMPLAINT
                                                   - 59 -                    CASE NO. 5:17-CV-7082-BLF
